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                        Expert Report by Ryan D. Enos, PhD



1. My name is Ryan Enos. I am a Professor of Government at Harvard University. I am also the Director of
the Center for American Political Studies and an affiliate of the Institute for Quantitative Social Science. I
have been on faculty at Harvard since 2010 and was promoted to Professor with tenure in 2018. I received my
PhD in Political Science from UCLA in 2010 and my BA in Political Science and History from the University
of California, Berkeley in 2001. At Harvard, I teach both undergraduate and graduate-level courses and I
have taught courses on the analysis of elections, political geography, political behavior and psychology, and
American politics.
2. My professional research focuses on voting behavior, the politics of race and ethnicity, social and electoral
geography, and campaigns and elections. I have published articles on these and other topics in peer-reviewed
scholarly journals, including the American Political Science Review, American Journal of Political Science,
Election Law Journal, Journal of Empirical Legal Studies, Political Analysis, Proceedings of the National
Academy of Sciences, Nature Human Behavior, Science Advances, and other journals. I am the author of
The Space Between Us: Social Geography and Politics (2017 Cambridge University Press). My published
research has used statistical analysis, geographic methods (including the use of Geographic Information
Systems (GIS)), and other methods of analysis and has used data from the U.S. Census, election returns,
voters lists, and other records of voter behavior.
3. My compensation is $450 per hour. No part of my compensation is dependent upon the conclusions that
I reach or the opinions that I offer.
4. I have been retained by the United States to evaluate whether voting is racially cohesive and polarized
in certain Congressional Districts (CDs) and State House Districts (HDs) and whether minority voters have
opportunities to elect their preferred candidates under the former district boundaries, whether minority voters
would be able to elect their preferred candidates in these districts under the state enacted redistricting plans,
and whether minority voters would be able to elect their preferred candidates in these districts under the
illustrative plans provided by the United States. I also report on relative proportionality for Latino voters
under the former and enacted plans and, finally, whether there is evidence in social science research that
socio-economic factors are related to voter turnout.


Summary of Findings
5. In CD 23 and in the newly created CD 38, Anglo and Latino voters vote cohesively within their own
group and are polarized between groups, with each group voting cohesively for different candidates. The
same pattern is present in HDs 31, 43, 74, 75, 76, 77, 78, 79, 81, and 118. Anglos, Latinos, and Blacks in
CDs 6 and 24 each vote cohesively within their own group and are polarized, with Latinos and Blacks voting
cohesively for the same candidates and Anglos voting cohesively for different candidates.
6. Under the enacted plan, minority voters in CDs 6, 23, 24, and 38 do not have an opportunity to elect
their preferred candidates.
7. Under the enacted plan, minority voters in HDs 31 and 118 do not have an opportunity to elect their
preferred candidates.
8. Under the former plan, HDs 74, 75, 76, 77, 78, and 79 were Latino opportunity districts in West Texas.
The removal of HD 76 reduces the number of opportunity districts in West Texas from six to five.


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9. Under the enacted plan, minority voters in HD 81 do not have an opportunity to elect their preferred
candidate.
10. Under the enacted plan, representation for Latino voters has become less proportional for both the
Texas Congressional delegation and the Texas House of Representatives. While the Latino Citizens Voting
Age Population (CVAP) in Texas has significantly increased between 2010 and 2020, the proportion of seats
in which Latinos have an opportunity to elect their preferred candidate has slightly decreased.
11. Illustrative CDs 23 and 38 provide an opportunity for minority voters to elect their preferred candi-
date.
12. Illustrative HDs 31, 74, 75, 77, 78, 79, 81, and 118 provide an opportunity for minority voters to elect
their preferred candidate.
13. There is strong evidence from social science research that low socio-economic status is correlated with
low voter turnout.




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Elections Analyzed and Data Sources
14. For the examination of racially polarized voting, I examined CD 23 in West Texas, CDs 6 and 24 in
the Dallas-Fort Worth area, and the newly created CD 38 in Harris County, HDs 31 and 43 in South Texas,
HDs 74, 75, 76, 77, 78, 79, and 81 in West Texas and El Paso, and HD 118 in Bexar County. I also analyzed
the counties surrounding these districts.
15. I examined the opportunity for minority voters to elect their preferred candidates in these same dis-
tricts.
16. I examined conditions under the district boundaries in place since 2013,1 which I will call the “former
plan”, the boundaries enacted by the state after the 2020 Census, which I will call the “enacted plan,” and
the illustrative plan from the United States.
17. Election returns came from data at the Voting Tabulation District (VTD) level provided by the state2
and data on CVAP at the VTD-level created by merging data from the 2016–2020 American Community
Survey (ACS) and 2020 Decennial Census with VTDs. The CVAP data was compiled by the United States
at my request. I verified the quality of their data after it was provided to me. I also verified my analysis
using Voting Age Population (VAP) and Spanish Surname Voter Registration (SSVR), also obtained from
the state. The results were substantively unchanged using these different data sources.
18. I examined “endogenous” and “exogenous” elections in which a minority candidate was running for one
or both of the two major parties (Republican or Democrat). Endogenous elections are elections for U.S.
Representative in CDs and State Representatives in HDs. Exogenous elections are state-wide elections. For
the racial bloc voting analysis, I only used elections which were contested by both of the major parties. To
select elections, I examined every statewide General election from 2014 to 20203 and every Congressional and
State House election in the districts in question from 2014 to 2020 and determined whether a racial minority
candidate was running for one of two major parties. In the CDs in the Dallas-Fort Worth Metroplex, where
I was asked to examine the cohesiveness and opportunity for Black and Latino voters, I used elections that
included either a Black or a Latino candidate. In all other analysis, I used elections that included a Latino
candidate.4 I chose to start the analysis in 2014 because this gives the longest series of elections since the
former Congressional Districts were enacted in 2013. Having a large number of elections means that no
single election carries too much weight in the analysis and, thus, the analysis is not overly influenced by a
particular year or candidate who may not be representative of larger trends. With this data, I am able to
examine, at least, seven exogenous elections in each district.5




   1 There were minor changes to this plan in 2019, limited to Tarrant County. Plan H411 was a remedy for a finding of racial

gerrymandering in HD 90. All the districts I analyze were unaffected by these changes.
   2 https://redistricting.capitol.texas.gov/
   3 Possible elections to use were President, U.S. Senate, Governor, Lieutenant Governor, Attorney General, Comptroller,

Commissioner of Land Use, Commissioner of Agriculture, Railroad Commissioner, Justice of Supreme Court of Texas, and
Judge for Court of Criminal Appeals (CCA).
   4 In the analysis of CD 23, I also include two endogenous elections with a Filipino-American candidate with a Spanish

surname.
   5 Another strategy could be to use only a single election in a given year, but the advantage of using multiple elections in a

year, when available, is that it more accurately captures the average preferences of voters and avoids putting too much weight
on a single candidate, who may be more or less popular for idiosyncratic reasons.
   One might consider also starting the analysis in 2016 because the election of Donald Trump is sometimes considered an
important inflection point in American politics and so earlier elections might be less relevant for understanding more recent
elections and how voters are expected to behave in the future. I examined how my conclusions would be changed by only
including elections from 2016–2020 and found that my substantive conclusions would be unchanged. Notably, in nearly every
district examined for this report, the opportunity for the election of minority-preferred candidates actually became stronger
after 2016.


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Racially Polarized Voting Analysis
19. In analyzing racially polarized voting, I am examining whether a racial minority group systematically
prefers one candidate, while a majority group prefers another candidate, with particular attention to cohe-
siveness when groups are voting for a candidate of their own racial group. There is no universally accepted
threshold for determining if a group votes cohesively, but a threshold of 60% is reasonable because it sig-
nals a clear preference by the racial group. So, if at least 60% of the voters from one group vote for one
candidate, I will call the voters cohesive in their preference for this candidate. A smaller threshold, say a
simple majority, is less clearly cohesive and would give me less confidence in my determination.6 If another
racial group cohesively supports a different candidate, then I say the election is racially polarized between
the groups.
20. To examine this, in each election, I used a statistical procedure called ecological inference (EI). EI
estimates group-level preferences based on aggregate data.7 I analyzed the results for four racial demographic
groups: Non-Hispanic Black, Latino, Anglo, and Other, based on CVAP.8 The results of this analysis are
estimates of the percentage of each group that voted for each candidate in each election. For each election,
I produce the mean estimate of vote share and a 95% confidence interval.9 Full results of this analysis for
the former and enacted districts are in Appendix A and I include figures below for certain areas of interest.
I discuss the analysis of illustrative districts later in the report.

Congressional District 23 (West Texas)
21. Both Latino and Anglo voters in CD 23 are cohesive within their own group and polarized from each
other in all relevant elections. The results are shown in Figure 1. In this and similar figures, Latinos are
represented by green and Anglos by pink. Each election is on a different horizontal line and the points
represent the vote for the Democratic candidate. Triangles for Latinos and circles for Anglos represent
the mean estimate for each group and the 95% confidence intervals are represented by the horizontal lines.
Examining how far a group is to the right of 60% gives a sense of how cohesive the group is in support
of the Democratic candidate. Values below 40% represent cohesive voting for the Republican candidate.10
The distance between the groups gives a sense of the level of racial polarization. The party and race for the
two major-party candidates are listed next to the office (D = Democrat, R = Republican, A = Anglo, L =
Latino, B = Black). The estimates using the boundaries of the district in the former plan are shown in the
left panel and in the enacted plan in the right panel.

Congressional Districts in the Dallas-Fort Worth Metroplex
22. Voting in CD 24 is represented in Figure 2. This figure is the same as Figure 1, but Black voters are
represented by purple squares. Latino, Black, and Anglo voters are each cohesive within their own group
in nearly all elections.11 Notice that, based on the 95% confidence intervals, there is more uncertainty in
the level of cohesiveness for Blacks. This greater uncertainty, compared to CD 23, is expected because of
   6 Due  to statistical uncertainty (see footnote below) the closer a threshold is set to 50%, the more difficult it is to clearly
understand which candidate a majority of the group supports. A threshold of 60% has also been used in previous academic
treatments of the subject, see A.J. Lichtman, F. Hebert, “A general theory of vote dilution,” La Raza Law Journal, 6 (1993),
pp. 1-25.
    7 The analysis is performed using the package eiPack in the statistical software R: https://cran.r-project.org/web/

packages/eiPack/index.html
    8 To define these groups, I used the same methodology as the state, where Latino includes anyone of Spanish-speaking

heritage, regardless of race, Black includes anyone with any Black ancestry, Anglo includes Caucasians not of Hispanic heritage,
and anyone else is defined as Other. In discussing the results, I use the word ”race” and ”ethnicity” interchangeably, even
though they are not the same thing.
    9 The 95% confidence interval is a measure of uncertainty in the estimates from the model. For example, the model might

estimate that 90% of one group voted for a candidate, with a 95% confidence interval of 87-93%. This means that 95% of the
simulated estimates for this group fall in the range of 87-93%, with 90% being the mean estimate.
  10 In some cases, the election was also contested by a candidate from a party other than Democratic or Republican, so non-

Democratic votes may represent a mix of votes for Republicans and other candidates. In practice, nearly all votes in these
elections not going to the Democratic candidate went to the Republican candidate.
  11 Latinos are cohesive in all 19 exogenous and endogenous elections. Anglos are cohesive in 18 of 19. Blacks are cohesive in

all of the 19 elections.



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                         Figure 1: CD 23 voting by race




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                                              Figure 2: CD 24 voting by race


the relatively smaller populations of minority voters in CD 24. However, because of the consistency across
all elections — the mean estimate for Black vote is greater than 60% in every election — the group is
cohesive in my opinion.12 Across all elections under the former plan, Blacks and Latinos vote cohesively for
the Democratic candidate, while Anglos vote cohesively for the Republican candidate (except for the 2018
election for U.S. Senate), meaning that Blacks and Latinos are both polarized from Anglos.
23. A similar pattern can be found in CD 6 (see Figure 3), with Latino, Black, and Anglo voters each
cohesive within their own group in every election. In contrast to CD 24, in CD 6 there is, based on the 95%
confidence intervals, more uncertainty in the level of cohesiveness of Latinos, while there is greater certainly
the cohesiveness of Blacks. However, because of the consistent pattern of Latino voting, the group is cohesive
in my opinion. Across all elections, Blacks and Latinos vote cohesively for the Democratic candidate, while
Anglos vote cohesively for the Republican candidate, meaning that Blacks and Latinos are both polarized
from Anglos.
24. Looking at results from the CDs 24 and 6 pooled together (Table A5) and across all of Dallas and Tarrant
Counties (Table A4), there is cohesion within each of the racial groups and clear polarization between Latinos
  12 In every election, the mean estimate is that Blacks support a candidate at greater than 60%, while the 95% confidence

intervals also cross 60% in 17 of the 19 elections. This means that for each individual election, the best guess is that the support
was greater than 60% but I cannot say with 95% confidence that the group voted more than 60% cohesively in that single
election.



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                         Figure 3: CD 6 voting by race




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                                            Figure 4: CD 38 voting by race


and Anglos and between Blacks and Anglos. Compared to the results in individual districts, there is also
less uncertainty in the estimates, reflected in the narrower 95% confidence intervals.13

Congressional District 38 (Harris County)
25. Anglo voters in enacted CD 38 are cohesive in every relevant election. Latino voters are cohesive in 7 of
the 10 elections analyzed with an average of 66% cohesion across all the elections. Latinos and Anglos are
polarized from each other in all relevant elections. See Figure 4.
26. In Harris County as a whole (see Table A7), Latinos and Anglos are each cohesive within their group
and are polarized from each other in all relevant elections.

State House Districts 31 and 43 (South Texas)
27. In both HDs 31 and 43, Latino and Anglo voters are cohesive within their own group and polarized
from each other in all relevant elections.14 See Figures 5 and 6.
  13 The smaller 95% confidence intervals in the pooled and county-level analysis are because there are more VTDs to use in

the estimation, which makes for a larger sample and more statistical precision.
  14 Note that the 95% confidence interval for Latinos crosses in HD 43 60% in two elections, but the overall pattern is clear.




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                         Figure 5: HD 31 voting by race




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                         Figure 6: HD 43 voting by race




                                      10
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                                Figure 7: West Texas House Districts voting by race


State House Districts in El Paso and West Texas
28. Latino and Anglo voters in HDs 74, 75, 76, 77, 78, 79, and 81 are cohesive within their group and
polarized from each other in nearly all elections (see Tables A11–A17).15
29. Looking at all of the West Texas districts pooled in Figure 7 and Table A18, Latinos and Anglos across
the region are each cohesive within their group and polarized from each other.

State House District 118 (Bexar County)
30. Latino and Anglo voters in HD 118 are each cohesive within their group and polarized from each other
in all relevant elections. See Figure 8.




  15 The only exceptions are all 2014 elections in HD 81. Note that when using SSVR analysis, Latino voters do appear cohesive

in these elections.


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                         Figure 8: HD 118 voting by race




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Opportunities for Minority Preferred Candidates in Former and
Enacted Plans
31. Having concluded that there is strong evidence for cohesive and polarized voting in the districts in
question in nearly all elections, I examined the opportunity for minority voters to elect candidates of their
choice. I limit my analysis to those elections where a minority-candidate is preferred by minority voters, which
is determined by the analysis of cohesive voting above.16 A list of the statewide elections and candidates
that I used is in Table B1 in Appendix B. For each contested endogenous and exogenous election in each
district, I examine the average vote margin for the minority candidate under the former and enacted plans
in contested elections.17 The margin is the vote percent won by the minority preferred candidate compared
to the next closest opponent, so a positive number means the minority candidate won the plurality of the
vote and would have been the winner of the election. A negative number means the minority candidate
would have lost.18 I also examine the proportion of elections that the minority preferred candidate would
be expected to win under the former and enacted plans. Comparing the proportion of elections won in
the former and enacted plans will indicate if minority voters were able to elect their preferred candidate
under the former plan and if that opportunity is expected to change under the enacted plan. Note that in
the enacted districts, there are no endogenous elections to examine because the newly added voters to the
district did not vote in the district prior to the redistricting.
32. To determine if a district is an opportunity district, I examine whether the minority-preferred candidate
is expected to win a typical election. This does not mean that the minority-preferred candidate will win
in every election because variation in the quality of candidate and other factors, such as variation in voter
turnout, may affect the outcome of any particular election. However, even with idiosyncratic variation
in outcomes due to these factors, a minority-preferred candidate should win most elections if the district
provides opportunity for minority voters to elect their preferred candidate. As a rule of thumb, I set a
threshold for opportunity of the minority-preferred candidate winning more than 50% of elections.19 In each
district, I also examine the margin for the minority candidate because that allows me to see if the district,
due to demographic changes or other factors, is becoming more competitive for minority-preferred candidates
over time. The margin also gives a sense of the magnitude of the change in the district from the former to
the enacted plan.
33. The summary of these findings are in Table 1 for CDs and Table 4 for HDs. In these tables, I show the
average margin and for the minority-preferred candidate for all contested elections and the proportion of all
elections (contested or uncontested) won by the minority-preferred candidate under the former and enacted
plans. For each district, I also produce a figure showing the vote across each election for the minority
preferred and non-preferred candidate in the former and enacted district in each contested election (see
Figure 9 as an example). The former plan is in the top panel and the enacted plan in the bottom panel.
  16 I limit to those elections where minority voters vote cohesively for the minority candidate because the presence of cohesive

voting indicates that there is a clear preference among minority voters. In the absence of this cohesion, say if only 50% of
minority voters have voted for a candidate, then there is no clear preference for a candidate. Another approach would be to
simply use all the elections that were used in the analysis of racially polarized voting for the opportunity analysis. If I do this,
my substantive conclusions are unchanged. Appendix D shows the results of the opportunity analysis using all the elections
used for the racially polarized voting analysis.
  17 In non-contested elections, the candidate receives 100% of the vote, so including these elections severely distorts the averages.

   I conduct the analysis in the enacted plan in two ways to account for the fact that the enacted districts were drawn with 2020
Census data and so may be based on VTDs with slightly different boundaries than the VTDs based on 2010 Census Data. This
can result in imperfect overlap between the VTDs in place after 2010 and the VTDs used to create the new district. The first
way is overlaying the VTDs onto the enacted district and assigning each VTD to the district in which the majority of that VTD
falls. The second way is to use a process of spatial interpolation in which I assign votes to the district based on the proportion
of the area of the VTD that falls into that district. In practice, because only a very small portion of VTDs are not completely
contained within the boundaries of single enacted district, the results of my analysis with these two different methods is nearly
identical and so I report the results from the first method.
  18 In calculating these average margins, I average across all elections in question in each year, so some years have more elections

than others. Another approach would be to take average margin in each year or a single election in each year (say the highest
office on the ballot) and average those. I checked for how my results would be changed with this approach and found that it
made no substantive difference for the conclusions of the report.
  19 When considering whether a district provides opportunity, if the proportion of elections won is close to this threshold so

that the case for opportunity is less clear-cut, then it is useful to also consider whether minority-preferred candidates have
consistently won endogenous elections in the district.


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                                                              Former Districts                           Enacted Districts
                                      Endogenous Elections     Exogenous Elections    All Elections      Exogenous Elections
                           District   Margin       Win %       Margin      Win %     Margin Win %        Margin      Win %
 West Texas:
                           23           -1.96             0         -4.44       14      -3.54        9     -11.28             0
 Dallas-Fort Worth Metroplex:
                            6          -13.49             0        -11.90        0     -12.11        0     -31.02             0
                           24           -1.33             0        -10.85        0     -10.17        0     -29.16             0
 Harris County:
                           38                                                                              -34.42             0


                         Table 1: Congressional Districts Opportunity District Analysis


The non-minority-preferred candidate is represented by gray lines and the minority-preferred by black lines.
Each election is listed on the horizontal axis and the vote percent received on the vertical axis. Comparing
the black and gray lines shows the support for minority-preferred candidate compared to the non-minority
preferred candidate and comparing the top and bottom panel shows how this changes across the former and
enacted plans.
34. For select districts I have added maps of the changes to the district in Appendix E. In each of the
maps, each shape is a VTD, shaded either by the average vote in exogenous elections for minority-preferred
candidates or the percent Latino CVAP, with darker colors representing higher average vote for the minority-
preferred candidate or higher percent CVAP, respectively.20 The orange-bordered VTDs represent VTDs
removed from the district in the enacted plan and the green borders represent VTDs that were added to
the district in the enacted plan. Examining the shading of the green-bordered VTDs and comparing to the
shading of the orange-bordered VTDs gives a sense of how the opportunity for minority-preferred candidates
changes across the former and enacted plan or how the demographic make-up of the district changes across
the former and enacted plans.

Congressional District 23 (West Texas)
35. CD 23 is represented by the first line of Table 1 and in Figure 9. Under the former plan, this was not
an opportunity district for Latino voters because the Latino-preferred candidate won only one of the eleven
contested elections. However, looking at the margins for the minority-preferred candidate over time, it is
clear that minority-preferred candidates were more competitive in recent elections. William Hurd (Black
Republican) defeated minority-preferred incumbent Pete Gallego (Latino Democrat) in 2014. Gallego lost to
Hurd again in 2016. Minority-preferred candidate Gina Ortiz Jones21 was the Democratic candidate in 2018
and 2020, losing to William Hurd in 2018 and to Tony Gonzales (Latino Republican) in 2020. These elections
were decided by less than 2 percentage points (1.96) on average. The five exogenous elections were not as
close, with the minority preferred candidate having a margin -4.44 percentage points on average, although
the results have been closer since 2016 (-2.71 percentage points on average) and the minority preferred
candidate (Dori Garza, Latina Democrat) did capture a plurality in 2016 Texas Supreme Court election.
Under the enacted plan, the average margin for the non-minority preferred candidate would grow to more
than 11 percentage points.
36. To illustrate the change in the district from the former to the enacted plan, I have included the map in
Figure E1 that is shaded by the average vote in exogenous elections for minority-preferred candidates, with
darker colors representing higher average vote for the minority-preferred candidate. The orange bordered
VTDs represent VTDs removed from the district in the enacted plan and the green borders represent VTDs
that were added to the district in the enacted plan. In this map, because the changes were concentrated in the
El Paso and San Antonio regions, I have included inset versions focusing on these areas in the lower left corer
(El Paso on the left, San Antonio on the right). In Table 2, I summarize these changes. This table shows the
average vote for the minority preferred candidate in the VTDs that were added, removed, and kept across
  20 The average vote share is constructed by summing the number of votes in the VTD for the preferred candidate in all the

elections in question and dividing by the sum of the total votes cast in the VTD in these elections.
  21 Ortiz Jones’ is Filipino-American.




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                                   Figure 9: Congressional District 23

                VTD Status   Minority Preferred Vote %    Latino CVAP %   SSVR %   SSTO %
                Added                  48.74                  50.69        42.02   38.64
                Kept                   42.73                  58.28        51.00   43.15
                Removed                65.21                  74.90        65.28   62.30

                          Table 2: VTD reallocation: Congressional District 23


the former and enacted plans. The removed VTDs voted, on average 65 percent for the minority-preferred
candidate, the added VTDs voted, on average, 49 percent for the minority preferred candidate. Table 2
also shows the changes in percent Latino CVAP, percent SSVR, and percent Spanish Surname Turnout
(SSTO), in the added, removed, and kept districts. SSVR represents the percent of all registered voters
who had a Spanish surname in 2020. SSTO represents the percent of voter turnout, across all elections,
that was by voters with Spanish surnames. In the added VTDs, Latino CVAP is 51%, SSVR 42%, and
SSTO 39%. In the removed VTDs, Latino CVAP is 75%, SSVR 65%, and SSTO 62%. To understand
the geographic correspondence between the changes in support for the minority-preferred candidate and the
racial composition of the district, the map in Figure E1, which shades the VTDs by percent vote for the
minority-preferred candidate, can be compared to the map in Figure E2, which shades the VTDs by percent
Latino CVAP.

Congressional Districts in the Dallas-Fort Worth Metroplex
37. I have included maps of the changes to the CDs in the Dallas-Fort Worth Metroplex in Figures E3
(former plan) and E4 (enacted plan) in Appendix E. These maps are shaded by the combined percent Black
and Latino CVAP by VTD, with darker colors representing a higher proportion of combined Black and
Latino CVAP. Each CD is represented by a different color border and diagonal cross-hatching. CD 33 is


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                                    Figure 10: Congressional District 24


yellow and is in the center of both maps. To the north of CD 33 is CD 24 in light blue. To the south of CD
33 is CD 6 in green. Note that in the enacted plan, an arm of CD 6 juts far the north, squeezing between
CDs 25 and 30 and causing CD 33 to be wrapped around this north-jutting arm.
38. CD 24 is represented by the third row in Table 1 and in Figure 10. Under the former plan, this district
was not a Latino opportunity district because the minority-preferred candidate lost all elections. However,
similar to CD 23, examining the margins over time makes it clear that minority-preferred candidates were
more competitive in recent elections: 2020 was the first time in the past decade that a Black or Latino
candidate had run for a major party and Candace Valenzuela (Black-Latino Democrat) finished only 1.33
percentage points behind Beth Van Duyne (Anglo Republican). Comparing the results of thirteen exogenous
elections since 2014 that featured a Black or Latino candidate, the average margin of those results for the
minority-preferred candidate is -10.85 percentage points, but there is a clear trend of this margin for all
minority-preferred candidates getting closer: the average margin for the minority-preferred candidate goes
from -28.0 in 2014 to -14.5 in 2016 to -7.1 in 2018 to -1.7 in 2020. Under the enacted plan, the average
vote in exogenous elections would become -30.46 points, an 18 point average drop in expected vote for the
minority-preferred candidate.
39. To illustrate the change in the district from the former to the enacted plan, I have included the map in
Figure E5, which again is shaded by average vote for minority-preferred candidates and has orange borders
for VTDs removed from the district and green borders around VTDs added to the district in the enacted
plan (the geographic continuity of the newly enacted district linking the west to the east is achieved by the
slice of VTDs just below the label for the city of Carrollton). Figure E6 is shaded by the percent Latino
CVAP. In Table 3, I summarize these changes and list the change in percent Black CVAP. The removed
VTDs voted, on average 53 percent for the minority-preferred candidate, the added VTDs voted, on average,
32 percent for the minority preferred candidate.



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         VTD Status    Minority Preferred Vote %    Black CVAP %    Latino CVAP %   SSVR %   SSTO %
         Added                   31.79                  6.95             11.86       7.89     6.44
         Kept                    36.32                  9.40             13.17       8.95     7.44
         Removed                 53.25                  21.98            19.13       14.05    12.25

                            Table 3: Congressional District 24: VTD reallocation




                                         Figure 11: Congressional District 6


40. CD 6 is represented by the second row in Table 1 and Figure 11. In this district there was no opportu-
nity for minority-preferred candidates in the former plan. Endogenous and exogenous elections there have
not been competitive and the minority preferred candidates have not won any these elections. However,
elections have trended toward competitiveness since 2014, with the average margin for all minority-preferred
candidates decreasing from -20.1 in 2014 to -17.8 in 2016 to -9.85 in 2018 to -6.74 in 2020 (see Figure 11).
Under the enacted plan, the margin in these elections would have been -31 percentage points. The changes
to CD 6 are represented by the maps in Figures E7 (minority-preferred vote) and E8 (percent Latino). In
these maps, I have added an inset map in the upper right with detail on the Fort-Worth, Arlington, and
west Dallas area. The continuity of the enacted district is maintained by the inclusion of the narrow strip
of VTDs to the west of Joe Pool Lake in the city of Cedar Hill.

Congressional District 38 (Harris County)
41. New CD 38 in the enacted plan is represented in the last row in Table 1 and in Figure 12. Because
this is a new district, there are no elections under the former plan. The newly created district provides no
opportunity for minority voters to elect their preferred candidate. Based on the results in the eight exogenous
elections with a minority preferred candidate, had the candidate been running in this district, the candidate
would have lost all elections and by an average of over 36 percentage points.


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                        Figure 12: Congressional District 38




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                                                            Former Districts                           Enacted Districts
                                  Endogenous Elections       Exogenous Elections       All Elections   Exogenous Elections
                       District   Margin       Win %         Margin      Win %        Margin Win %     Margin      Win %
  South Texas:
                       31           16.83             100       6.30             57     7.62      73        -9.22        29
                       43          -22.43               0     -13.15              0   -15.93       9       -16.85         0
  El Paso and West Texas:
                       74            8.79             100       7.02          86        7.24      91       15.30        100
                       75                             100      40.17         100       40.17     100       42.09        100
                       76                             100      52.28         100       52.28     100
                       77                             100      32.75         100       32.75      91        52.42       100
                       78           26.84             100      12.95          71       17.11      82        13.23        71
                       79                             100      31.82         100       31.82     100        30.96       100
                       81          -49.98               0     -52.33           0      -52.04       0       -50.36         0
  Bexar County:
                      118           14.42             100      11.96         100       12.70     100        -3.64        29

                           Table 4: State House Districts Opportunity District Analysis


State House Districts 31 and 43 (South Texas)
42. HD 31 is represented by the first line of Table 4 and in Figure 13. Under the former plan, this was a
minority opportunity district. Across all elections, the minority-preferred candidate won 73% of elections,
including all endogenous elections. Ryan Guillen (Latino Democrat) ran opposed for the seat in 2014,
2016, and 2018. In 2020, he defeated his Anglo opponent by nearly 17 percentage points.22 In exogenous
contests with a Latino candidate, the minority preferred candidate won four of seven elections, with the
minority-preferred candidate finishing a close second in the contests in 2018 for Governor, 2020 for Railroad
Commissioner, and 2020 for Supreme Court. On average, the minority-preferred candidate won exogenous
contests by just over 6 percentage points. Under the enacted plan, this is no longer a minority opportunity
district: the average margin for the minority-preferred candidate would have been -9.2 percentage points
and minority preferred candidates would have lost five of the seven exogenous elections.
43. The changes to HD 31 in the enacted plan are represented by the maps in Figures E9 (minority-
preferred vote) and E10 (percent Latino). These average voting margins of the added and removed VTDs
are summarized in Table 5. Average vote for the minority-preferred candidate in the added VTDs was 28%,
in the removed VTDs, average vote for the minority preferred candidate was 42%.
44. HD 43 is represented by the second row of Table 4. A figure representing the election outcomes is
in Appendix C. This district was not an opportunity district under the previous plan and remains not an
opportunity district under the enacted plan.

State House Districts in El Paso and West Texas
45. Lines 3–9 in Table 4 represent HDs 74, 75, 76, 77, 78, 79, and 81. The Figures representing these
districts are in the Appendix C.23
  22 Guillen
           changed his affiliation to the Republican Party in 2021.
  23 Asnoted above, in the 2014 U.S. Senate election in HD 78 and all 2014 elections in HD 81, Latino voters were not cohesive.
Because Latino voters in all other districts were cohesive in these elections, I keep them in the analysis for HDs 78 and 81.
Excluding these elections makes no difference for the substance of my analysis.



                    VTD Status      Minority Preferred Vote %        Latino CVAP %      SSVR %   SSTO %
                    Added                     28.35                      43.97           41.17     31.96
                    Kept                      59.68                      83.01           82.00     77.79
                    Removed                   41.50                      65.92           62.01     52.03

                                  Table 5: VTD reallocation: State House District 31



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                        Figure 13: State House District 31




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                 VTD Status   Minority Preferred Vote %    Latino CVAP %   SSVR %   SSTO %
                 Added                  41.35                  45.52        34.62    28.26
                 Kept                   51.37                  62.85        53.00    47.71
                 Removed                74.86                  89.29        82.74    83.41

                           Table 6: VTD reallocation: State House District 118

46. Under the former plan HDs 74, 75, 76 77, 78 and 79 are minority opportunity districts. In the years
in question, endogenous elections were only contested in HDs 74 and 78 and those contested elections were
not close, with the minority preferred candidate winning by a margin of nearly 9 and 27 percentage points,
respectively. In all these districts, minority-preferred candidates won more than 70% of exogenous elections.
The opportunity is maintained in HDs 74, 75, 77, 78, and 79 in the enacted plan. HD 76 has been moved
out of West Texas, reducing the number of opportunity districts in West Texas from six to five.
47. HD 81 was not an opportunity district under the former or enacted plans.

State House District 118 (Bexar County)
48. HD 118 is represented by the bottom line of Table 4 and in Figure 14. Under the former plan, HD 118
was an opportunity district, with minority-preferred candidates winning 100% of the endogenous general
elections, by an average margin of 14 percentage points in contested elections. Incumbent Joe Farias (Latino
Democrat) was unopposed for election in 2014. He resigned in 2015. John Lujan (Latino Republican)
won a special election to replace him (this election is not included in the analysis because I only examine
general elections). Tomas Uresti (Latino Democrat) defeated Lujan in the general election in 2016. Leo
Pacheco (Latino Democrat) won the general election in 2018 and was unopposed in 2020. Minority preferred
candidates won all seven exogenous elections under the former plan by an average margin of 12 percentage
points. Under the enacted plan, HD 118 is no longer an opportunity district: minority preferred candidates
are expected to lose by 3.6 percentage points and minority-preferred candidates would have lost five of seven
exogenous elections.
49. The changes to HD 118 in the enacted plan are represented by the maps in Figures E11 (minority-
preferred vote) and E12 (percent Latino). In Table 6, I summarize the average vote for the minority
preferred candidate in the VTDs that were added, removed, and kept across the previous and enacted plans.
On average, 75 percent of voters in the removed VTDs voted for the minority-preferred candidate. On
average, 41 percent of voters in the added VTDs voted for the minority preferred candidate. Notably, the
removed VTDs have nearly twice the Latino CVAP, more than twice the SSVR, and nearly three-times the
SSTO of the added VTDs.




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                        Figure 14: State House District 118




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Proportionality
50. Latinos are 30.5% of the Texas CVAP population in the 2016–2020 ACS data. Latinos were 25% of the
Texas CVAP population in the 2006–2010 ACS data. To see if there is a relative change between plans in
the proportion of CDs and HDs where Latino voters have an opportunity to elect their preferred candidates,
I examined exogenous elections in CDs and HDs with at least 40% Latino CVAP. I limit this analysis to
districts with 40% CVAP because districts with lower CVAP are unlikely to provide Latino voters with
opportunity to elect their preferred candidate. After determining which elections had 40% Latino CVAP,
I see whether Latino-preferred candidates an opportunity to win elections by examining the proportion of
exogenous elections won by the Latino-preferred candidate. I list the percent Latino CVAP in CDs and HDs
in tables in Appendix F.
51. In the former plan, based on 2010 data, there were 10 CDs with over 40% Latino CVAP (in descending
order: 34, 16, 15, 28, 20, 29, 23, 27, 35, and 33). In the enacted plan, based on 2020 data, these same 10
districts have over 40% Latino CVAP, although the Latino percentage has changed in several. No additional
districts are over 40% Latino CVAP in 2020.
52. In the former plan, based on the past performance of minority-preferred candidates in the CD, in eight
of these ten districts (15, 16, 20, 28, 29, 33, 34, and 35), Latinos had an opportunity to elect their preferred
candidate.24 In two of these districts, 23 and 27, Latinos did not have an opportunity to elect a candidate
of their choice. Therefore, the proportion of statewide opportunity districts under the former plan was 22%
(8/36).
53. In the enacted plan, using the expected performance of minority preferred candidates in the new
districts, the same eight districts remain opportunity districts, so the proportion of Latino opportunity
districts statewide is now 21% (8/38). Given the increase in Latino CVAP, this represents a relative decrease
in proportionality under the enacted plan: the gap between CVAP and proportion of Latino opportunity
districts in the former plan was 3 percentage points, under the enacted plan, the gap is 9.5 percentage
points.
54. Under the former plan, there were 36 HDs meeting the 40% criteria. Of these, all but HD 32, 43, and 81
gave Latino voters an opportunity to elect their preferred candidate, giving a statewide proportion of 22%
(33/150) opportunity districts.
55. Under the enacted plan, there are still 36 HDs meeting the 40% criteria. HDs 32, 43, 81 still do
not give Latinos an opportunity to elect their preferred candidate. In addition, HDs 31 and 118 no longer
Latino voters an opportunity to elect their preferred candidate, bringing the total to five districts of over
40% Latino CVAP where Latino voters do not have an opportunity to elect their preferred candidate. This
leaves 31 opportunity districts for 21% (31/150) opportunity districts. Given the increase in Latino CVAP,
this represents a relative decrease in proportionality under the enacted plan: the gap between CVAP and
proportion of Latino opportunity districts in the former plan was 3 percentage points, under the enacted
plan, the gap is 9.5 percentage points.




  24 Six the districts are, in fact, represented by Latinos. CD 35 has been represented by an Anglo Democrat, Lloyd Doggett,

since 2013. He is now running in the newly created 37th District. A Latino, Greg Casar, has won the 2022 Democratic primary
and will advance to the November general election. CD 33 has been represented by Marc Veasey, a Black Democrat, since 2013.


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Illustrative Districts
56. I was asked by the United States to analyze their illustrative districts for HDs 31, 74, 75, 77, 78, 79,
81, and 118 and for CDs 23 and 38. For each, I repeat the process of analysis of racial bloc voting and
opportunity districts that I performed above. I use the boundaries of these districts provided to me by the
United States and combine them with the same demographic and voting data used above.25
57. Analysis of racial bloc voting for all of these illustrative districts is in Appendix G in Tables G1–G10.
In nearly all districts and relevant elections, Latinos and Anglos are each cohesive within their own group
and are polarized between the groups. There are a few elections that are exceptions found in the tables.
In Figure 4 above, I display the change in racial bloc voting between the enacted and illustrative CD 38.
Latinos are more cohesive in the illustrative plan.
58. Analysis of the opportunity for minority voters to elect their preferred candidates in CDs 23 and 38 is
in Table 7. Details of the expected outcomes in each exogenous election for each district are in Appendix H.
Both CDs become opportunity districts in the illustrative plan. Notably, in CD 38, the minority-preferred
candidate would have won every election after 2014 (see Figure H2 in Appendix H).

                                                  Enacted Districts        Illustrative Districts
                                                  Exogenous Elections        Exogenous Elections
                                       District   Margin      Win %        Margin         Win %
                             West Texas:
                                         23         -11.28            0         5.21           100
                             Harris County:
                                         38         -34.42            0         6.31             71

                   Table 7: Illustrative Congressional Districts Opportunity District Analysis

59. Analysis of the opportunity for minority voters to elect their preferred candidates in HDs is in Table 8.
Details of the expected outcomes in each exogenous election for each district are in Appendix H. All HDs
become opportunity districts in the illustrative plan.

                                                        Enacted Districts         Illustrative Districts
                                                        Exogenous Elections         Exogenous Elections
                                             District   Margin      Win %         Margin         Win %
                        South Texas:
                                             31              -9.22         29          14.80          100
                        El Paso and West Texas:
                                             74           15.30           100           1.13           57
                                             75           42.09           100          39.83          100
                                             77           52.42           100          50.94          100
                                             78           13.23            71          13.92          100
                                             79           30.96           100          26.42          100
                                             81          -50.36             0           2.36           71
                        Bexar County:
                                            118              -3.64         29           4.65           86

                    Table 8: Illustrative State House Districts Opportunity District Analysis




  25 In some cases, these illustrative districts include a small number of split VTDs, where part of the VTD was assigned to

one district and part to another. In order to analyze these districts, the data from these districts must be either 1) assigned to
one or the other of the districts or 2) split through a process of spatial interpolation and assigned to both districts. Because
spatial interpolation proved inconsequential in my analysis above, I decided to assign these VTDs to the district with which a
VTD has the greatest spatial overlap.


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Relationship between socioeconomic factors and voter turnout
60. There is strong evidence that voter turnout is correlated with socioeconomic status. Americans living in
poverty are far less likely to participate in the political process, including less likely to vote, than those with
more resources (Wolfinger and Rosenstone 1980; Verba, Schlozman, and Brady 1995; Schlozman, Verba, and
Brady 2012; Blais 2006).26 Approximately half of American adults in the lowest income quintile usually
vote in presidential elections, compared with nearly 80% of Americans in the highest quintile (Leighley and
Nagler 2013).27 These patterns are robust across time and place in the United States. Because one cannot
experiment on socioeconomic status in order to precisely understand why this relationship exists, the causal
effect and pathways of poverty on low voter participation are poorly understood. It could be because of a
lack of education generally and civic education in particular (Ojeda 2018, Sondheimer and Green 2010), less
perceived efficacy in the system (Aberbach and Walker 1970), less time and resources to pay the opportunity
costs associated with voting (Verba, Schlossman, and Brady 1995), or less attention from campaigns (Enos,
Fowler, and Vavreck 2014).28




 26

 Wolfinger, Raymond E., and Steven J. Rosenstone. Who votes?. Yale University Press, 1980.
 Verba, Sidney, Kay L. Schlozman, and Henry E. Brady. 1995. Voice and Equality: Civic Volunteerism in American Politics.
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 Schlozman, Kay L., Sidney Verba, and Henry E. Brady. 2012. The Unheavenly Chorus: Unequal Political Voice and the
     Broken Promise of American Democracy. Princeton, NJ: Princeton University Press.
 Blais, André. ”What affects voter turnout?.” Annu. Rev. Polit. Sci. 9 (2006): 111-125.
 27 Leighley, Jan E., and Jonathan Nagler. 2013. Who Votes Now? Demographics, Issues, Inequality, and Turnout in the

     United States. Princeton University Press.
 28

  Aberbach, Joel D., and Jack L. Walker. ”Political trust and racial ideology.” American political science review 64.4 (1970):
     1199-1219.
  Ojeda, Christopher. 2018. The Two Income-Participation Gaps.” American Journal of Political Science 62(4): 813-829
  Sondheimer, Rachel Milstein, and Donald P. Green. ”Using experiments to estimate the effects of education on voter turnout.”
     American Journal of Political Science 54.1 (2010): 174-189.
  Enos, Ryan D., Anthony Fowler, and Lynn Vavreck. ”Increasing inequality: The effect of GOTV mobilization on the
     composition of the electorate.” The Journal of Politics 76.1 (2014): 273-288.


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A     Appendix: Full EI Results
The tables below are of EI estimates for Anlgo, Latino, and Black voters. Estimates were also produced for
a category of “Other”, but those are not shown. Cell entries are for the Democratic vote share, with 95%
confidence intervals in parentheses. The party and race for the two major-party candidates are listed next
to the office (D = Democrat, R = Republican, A = Anglo, L = Latino, B = Black). Estimates for both the
former and enacted districts are shown.

Congressional District 23 (West Texas)

                                                           Former                  Enactd
                     Office                 Year   Latinos      Anglos     Latinos      Anglos
                     Land Comm (AD-LR)      2014   82           12         76           13
                                                   (78,   86)   (9, 15)    (71,   80)   (11, 16)
                     Lt. Governor (LD-AR)   2014   84           18         81           18
                                                   (80,   88)   (14, 21)   (76,   85)   (15, 21)
                     Sup Ct 7 (LD-AR)       2014   86           15         84           16
                                                   (83,   89)   (13, 18)   (79,   88)   (13, 19)
                     U.S. Rep 23 (LD-BR)    2014   86           23         -            -
                                                   (83,   89)   (19, 26)   -            -
                     Sup Ct 5 (LD-AR)       2016   85           11         83           13
                                                   (82,   87)   (8, 14)    (80,   86)   (11, 15)
                     Sup Ct 9 (AD-LR)       2016   78           12         74           12
                                                   (75,   80)   (9, 15)    (71,   77)   (9, 15)
                     U.S. Rep 23 (LD-BR)    2016   83           13         -            -
                                                   (81,   86)   (10, 16)   -            -
                     Governor (LD-AR)       2018   77           14         74           15
                                                   (73,   80)   (11, 17)   (70,   78)   (13, 19)
                     Land Comm (LD-LR)      2018   80           13         77           15
                                                   (77,   83)   (11, 16)   (73,   81)   (12, 18)
                     U.S. Rep 23 (LD-BR)    2018   82           16         -            -
                                                   (79,   85)   (13, 20)   -            -
                     U.S. Sen (AD-LR)       2018   83           18         80           20
                                                   (80,   85)   (15, 22)   (77,   84)   (17, 24)
                     RR Comm 1 (LD-AR)      2020   74           19         71           20
                                                   (71,   77)   (15, 22)   (68,   74)   (17, 24)
                     Sup Ct 8 (LD-AR)       2020   76           17         73           20
                                                   (74,   79)   (14, 20)   (69,   76)   (16, 23)
                     U.S. Rep 23 (LD-LR)    2020   73           17         -            -
                                                   (70,   76)   (14, 20)   -            -
                     Avg.                          81           16         77           16

                                        Table A1: EI CVAP: CD 23




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Congressional Districts in the Dallas-Fort Worth Metroplex

                                                     Former                                 Enacted
        Office                   Year   Latinos      Blacks       Anglos       Latinos      Blacks       Anglos
        Land Comm (AD-LR)        2014   72           73           25           61           65           21
                                        (54,   83)   (58,   85)   (22,   28)   (44,   78)   (46,   81)   (19,   23)
        Lt. Governor (LD-AR)     2014   69           66           32           55           57           29
                                        (54,   82)   (51,   81)   (29,   34)   (38,   77)   (40,   73)   (28,   30)
        RR Comm 3 (BD-AR)        2014   72           66           27           61           65           23
                                        (58,   83)   (53,   79)   (24,   30)   (45,   77)   (50,   79)   (21,   25)
        Sup Ct 7 (LD-AR)         2014   73           63           28           67           66           24
                                        (55,   85)   (46,   77)   (25,   31)   (53,   81)   (44,   80)   (22,   25)
        RR Comm 1 (AD-BR)        2016   77           74           29           53           65           26
                                        (64,   86)   (60,   86)   (25,   33)   (38,   71)   (48,   80)   (24,   28)
        Sup Ct 5 (LD-AR)         2016   76           72           31           61           65           27
                                        (66,   86)   (60,   84)   (27,   34)   (46,   75)   (46,   83)   (25,   29)
        Sup Ct 9 (AD-LR)         2016   76           72           28           63           62           24
                                        (64,   85)   (57,   84)   (23,   33)   (45,   77)   (42,   80)   (22,   27)
        CCA 7 (BD-AR)            2018   78           69           37           64           74           33
                                        (64,   86)   (53,   81)   (33,   42)   (50,   76)   (60,   86)   (31,   34)
        CCA Pres Judge (BD-AR)   2018   82           71           36           56           61           34
                                        (73,   89)   (57,   85)   (32,   40)   (43,   70)   (40,   77)   (33,   36)
        Comptroller (BD-AR)      2018   79           70           35           67           61           32
                                        (70,   86)   (53,   85)   (31,   38)   (55,   78)   (39,   79)   (30,   33)
        Governor (LD-AR)         2018   81           72           32           65           59           30
                                        (71,   87)   (57,   83)   (27,   36)   (50,   81)   (37,   81)   (28,   32)
        Land Comm (LD-LR)        2018   82           67           31           66           69           30
                                        (73,   89)   (53,   80)   (27,   35)   (53,   79)   (53,   83)   (27,   32)
        U.S. Sen (AD-LR)         2018   80           62           43           62           60           40
                                        (70,   87)   (44,   79)   (40,   46)   (49,   78)   (41,   77)   (38,   41)
        CCA 3 (BD-AR)            2020   74           62           38           58           59           33
                                        (65,   83)   (48,   75)   (35,   41)   (47,   69)   (45,   72)   (32,   35)
        RR Comm 1 (LD-AR)        2020   75           62           38           58           59           35
                                        (64,   84)   (48,   74)   (33,   41)   (48,   68)   (43,   75)   (33,   37)
        Sup Ct 7 (BD-AR)         2020   72           68           38           59           58           33
                                        (62,   82)   (54,   81)   (35,   40)   (48,   68)   (43,   71)   (31,   34)
        Sup Ct 8 (LD-AR)         2020   77           64           37           63           66           32
                                        (68,   87)   (50,   78)   (33,   40)   (48,   76)   (52,   79)   (30,   35)
        U.S. Rep 24 (LD-AR)      2020   72           62           37           -            -            -
                                        (63,   80)   (51,   73)   (35,   40)   -            -            -
        Avg.                            76           68           33           61           63           30

                                    Table A2: EI CVAP: CD 24




                                                     27
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                                                    Former                               Enacted
       Office                   Year   Latinos      Blacks       Anglos     Latinos      Blacks       Anglos
       Land Comm (AD-LR)        2014   67           89           11         66           83           9
                                       (53,   81)   (84,   93)   (8, 13)    (50,   78)   (76,   89)   (6,   11)
       Lt. Governor (LD-AR)     2014   67           88           15         72           83           9
                                       (52,   81)   (83,   92)   (12, 18)   (60,   82)   (75,   89)   (7,   12)
       RR Comm 3 (BD-AR)        2014   65           88           13         72           81           9
                                       (48,   78)   (84,   92)   (10, 16)   (60,   82)   (73,   88)   (7,   12)
       Sup Ct 7 (LD-AR)         2014   68           88           12         72           81           8
                                       (55,   80)   (83,   92)   (9, 15)    (59,   82)   (73,   88)   (6,   11)
       RR Comm 1 (AD-BR)        2016   76           90           12         84           83           7
                                       (62,   86)   (86,   93)   (10, 15)   (76,   90)   (76,   89)   (5,   9)
       Sup Ct 5 (LD-AR)         2016   77           91           12         84           83           6
                                       (64,   86)   (88,   94)   (10, 15)   (79,   89)   (75,   88)   (4,   8)
       Sup Ct 9 (AD-LR)         2016   76           91           12         86           82           6
                                       (63,   86)   (87,   94)   (9, 14)    (79,   91)   (76,   88)   (5,   8)
       U.S. Rep 6 (BD-AR)       2016   75           91           12         -            -            -
                                       (62,   86)   (87,   94)   (9, 14)    -            -            -
       CCA 7 (BD-AR)            2018   74           94           18         87           87           7
                                       (61,   85)   (91,   96)   (15, 20)   (81,   91)   (82,   92)   (5,   9)
       CCA Pres Judge (BD-AR)   2018   76           94           17         87           87           7
                                       (61,   86)   (91,   96)   (15, 20)   (80,   91)   (81,   92)   (5,   9)
       Comptroller (BD-AR)      2018   75           94           16         87           89           6
                                       (62,   86)   (91,   96)   (14, 19)   (81,   91)   (83,   93)   (4,   8)
       Governor (LD-AR)         2018   74           93           15         86           86           5
                                       (59,   85)   (91,   96)   (12, 17)   (80,   90)   (79,   91)   (4,   7)
       Land Comm (LD-LR)        2018   77           94           15         87           87           5
                                       (61,   87)   (91,   96)   (12, 17)   (82,   91)   (82,   92)   (4,   7)
       U.S. Rep 6 (LD-AR)       2018   76           95           18         -            -            -
                                       (59,   87)   (92,   97)   (15, 21)   -            -            -
       U.S. Sen (AD-LR)         2018   73           94           22         87           89           8
                                       (59,   85)   (91,   96)   (19, 25)   (82,   91)   (84,   93)   (6,   11)
       CCA 3 (BD-AR)            2020   72           94           20         88           90           8
                                       (57,   84)   (92,   96)   (17, 22)   (84,   92)   (85,   93)   (6,   10)
       RR Comm 1 (LD-AR)        2020   73           94           18         89           89           7
                                       (59,   83)   (92,   96)   (15, 21)   (84,   92)   (85,   93)   (5,   9)
       Sup Ct 7 (BD-AR)         2020   75           94           19         89           89           8
                                       (62,   86)   (92,   96)   (16, 22)   (83,   93)   (85,   93)   (6,   10)
       Sup Ct 8 (LD-AR)         2020   70           94           18         88           89           7
                                       (46,   84)   (92,   96)   (16, 21)   (83,   92)   (84,   93)   (5,   10)
       Avg.                            73           92           15         83           86           7

                                   Table A3: EI CVAP: CD 6




                                                    28
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                Office                   Year   Latinos      Blacks       Anglos
                Land Comm (AD-LR)        2014   82           90           18
                                                (76,   86)   (87,   92)   (17,   21)
                Lt. Governor (LD-AR)     2014   82           90           24
                                                (77,   86)   (87,   92)   (22,   25)
                RR Comm 3 (BD-AR)        2014   84           90           21
                                                (78,   88)   (87,   92)   (19,   22)
                Sup Ct 7 (LD-AR)         2014   84           89           21
                                                (79,   88)   (86,   92)   (19,   24)
                RR Comm 1 (AD-BR)        2016   88           92           17
                                                (85,   91)   (89,   94)   (15,   19)
                Sup Ct 5 (LD-AR)         2016   89           91           18
                                                (86,   92)   (89,   93)   (16,   20)
                Sup Ct 9 (AD-LR)         2016   87           91           17
                                                (83,   90)   (88,   93)   (15,   19)
                CCA 7 (BD-AR)            2018   88           92           26
                                                (85,   91)   (89,   94)   (24,   27)
                CCA Pres Judge (BD-AR)   2018   89           91           26
                                                (86,   92)   (89,   93)   (24,   27)
                Comptroller (BD-AR)      2018   89           91           24
                                                (85,   91)   (89,   94)   (23,   26)
                Governor (LD-AR)         2018   88           91           22
                                                (85,   91)   (88,   93)   (20,   24)
                Land Comm (LD-LR)        2018   89           91           22
                                                (86,   91)   (89,   93)   (21,   24)
                U.S. Sen (AD-LR)         2018   88           91           31
                                                (84,   91)   (89,   93)   (29,   33)
                CCA 3 (BD-AR)            2020   84           91           27
                                                (79,   88)   (89,   93)   (26,   29)
                RR Comm 1 (LD-AR)        2020   83           90           26
                                                (78,   86)   (88,   93)   (24,   29)
                Sup Ct 7 (BD-AR)         2020   84           92           26
                                                (80,   88)   (90,   93)   (25,   28)
                Sup Ct 8 (LD-AR)         2020   85           91           26
                                                (81,   89)   (89,   93)   (24,   28)
                Avg.                            86           91           23

                Table A4: EI CVAP: Dallas and Tarrant Counties pooled




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                                                    Former                                 Enacted
      Office                    Year   Latinos      Blacks       Anglos       Latinos      Blacks       Anglos
      Land Comm (AD-LR)         2014   75           87           19           62           81           16
                                       (62,   83)   (83,   90)   (17,   22)   (47,   77)   (73,   87)   (14,   18)
      Lt. Governor (LD-AR)      2014   73           86           25           68           77           22
                                       (63,   82)   (81,   89)   (23,   27)   (56,   79)   (68,   84)   (21,   24)
      RR Comm 3 (BD-AR)         2014   74           88           21           68           80           18
                                       (62,   83)   (83,   91)   (18,   24)   (57,   78)   (73,   86)   (16,   20)
      Sup Ct 7 (LD-AR)          2014   76           87           21           71           78           18
                                       (66,   84)   (83,   91)   (19,   23)   (61,   80)   (68,   85)   (16,   20)
      RR Comm 1 (AD-BR)         2016   81           88           18           77           77           17
                                       (71,   87)   (84,   91)   (15,   21)   (69,   84)   (69,   83)   (15,   19)
      Sup Ct 5 (LD-AR)          2016   83           88           19           77           77           18
                                       (76,   88)   (84,   91)   (17,   21)   (67,   83)   (68,   84)   (16,   19)
      Sup Ct 9 (AD-LR)          2016   82           89           17           79           80           16
                                       (76,   88)   (85,   92)   (15,   20)   (72,   85)   (72,   86)   (15,   18)
      CCA 7 (BD-AR)             2018   79           91           25           77           80           23
                                       (70,   86)   (88,   94)   (23,   28)   (65,   84)   (71,   87)   (21,   25)
      CCA Pres Judge (BD-AR)    2018   81           91           26           78           81           23
                                       (74,   86)   (88,   94)   (23,   28)   (72,   85)   (74,   87)   (22,   25)
      Comptroller (BD-AR)       2018   79           91           24           76           80           21
                                       (71,   86)   (87,   93)   (22,   26)   (67,   84)   (72,   87)   (20,   23)
      Governor (LD-AR)          2018   80           90           22           78           79           20
                                       (73,   85)   (86,   93)   (19,   24)   (69,   85)   (70,   86)   (18,   22)
      Land Comm (LD-LR)         2018   81           90           22           79           78           20
                                       (74,   86)   (86,   93)   (20,   24)   (70,   85)   (70,   84)   (19,   22)
      U.S. Sen (AD-LR)          2018   78           90           32           73           76           29
                                       (69,   86)   (86,   93)   (29,   34)   (65,   81)   (66,   83)   (27,   30)
      CCA 3 (BD-AR)             2020   71           89           28           63           78           26
                                       (62,   80)   (86,   92)   (26,   30)   (56,   70)   (70,   84)   (24,   27)
      RR Comm 1 (LD-AR)         2020   70           90           28           71           68           26
                                       (62,   79)   (86,   93)   (26,   29)   (64,   78)   (61,   75)   (24,   27)
      Sup Ct 7 (BD-AR)          2020   72           89           28           64           78           25
                                       (65,   80)   (86,   92)   (25,   30)   (56,   72)   (70,   84)   (24,   26)
      Sup Ct 8 (LD-AR)          2020   71           89           28           64           76           25
                                       (63,   78)   (85,   92)   (26,   30)   (57,   72)   (68,   82)   (23,   26)
      Avg.                             77           89           24           72           78           21

                             Table A5: EI CVAP: CDs 24 and 6 pooled




                                                    30
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Congressional District 38 (Harris County)

                       Office                 Year   Latinos        Anglos
                       Land Comm (AD-LR)      2014   0.54           0.08
                                                     (0.33, 0.76)   (0.05,   0.12)
                       Lt. Governor (LD-AR)   2014   0.53           0.21
                                                     (0.36, 0.72)   (0.18,   0.25)
                       Sup Ct 7 (LD-AR)       2014   0.52           0.15
                                                     (0.39, 0.67)   (0.11,   0.19)
                       Sup Ct 5 (LD-AR)       2016   0.77           0.15
                                                     (0.57, 0.89)   (0.11,   0.18)
                       Sup Ct 9 (AD-LR)       2016   0.67           0.12
                                                     (0.32, 0.92)   (0.07,   0.17)
                       Governor (LD-AR)       2018   0.7            0.19
                                                     (0.49, 0.85)   (0.16,   0.22)
                       Land Comm (LD-LR)      2018   0.75           0.22
                                                     (0.6, 0.87)    (0.18,   0.25)
                       U.S. Sen (AD-LR)       2018   0.66           0.29
                                                     (0.47, 0.82)   (0.25,   0.33)
                       RR Comm 1 (LD-AR)      2020   0.68           0.24
                                                     (0.47, 0.84)   (0.21,   0.27)
                       Sup Ct 8 (LD-AR)       2020   0.78           0.22
                                                     (0.61, 0.89)   (0.19,   0.25)
                       Avg.                          0.66           0.19

                                   Table A6: EI CVAP: CD 38

                       Office                 Year   Latinos        Anglos
                       Land Comm (AD-LR)      2014   0.82           0.17
                                                     (0.78, 0.85)   (0.16, 0.19)
                       Lt. Governor (LD-AR)   2014   0.81           0.25
                                                     (0.77, 0.85)   (0.24, 0.26)
                       Sup Ct 7 (LD-AR)       2014   0.83           0.21
                                                     (0.8, 0.86)    (0.2, 0.23)
                       Sup Ct 5 (LD-AR)       2016   0.91           0.18
                                                     (0.89, 0.93)   (0.17, 0.2)
                       Sup Ct 9 (AD-LR)       2016   0.87           0.15
                                                     (0.84, 0.89)   (0.13, 0.16)
                       Governor (LD-AR)       2018   0.87           0.24
                                                     (0.84, 0.89)   (0.22, 0.26)
                       Land Comm (LD-LR)      2018   0.89           0.25
                                                     (0.87, 0.91)   (0.24, 0.27)
                       U.S. Sen (AD-LR)       2018   0.9            0.32
                                                     (0.88, 0.92)   (0.31, 0.34)
                       RR Comm 1 (LD-AR)      2020   0.82           0.26
                                                     (0.79, 0.85)   (0.24, 0.27)
                       Sup Ct 8 (LD-AR)       2020   0.83           0.24
                                                     (0.8, 0.85)    (0.22, 0.27)
                       Avg.                          0.85           0.23

                                Table A7: EI CVAP: Harris County




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State House Districts 31 and 43 (South Texas)

                                                       Former                   Enacted
                  Office                 Year   Latinos      Anglos      Latinos      Anglos
                  Land Comm (AD-LR)      2014   81           9           81           7
                                                (76,   85)   (5,   14)   (76,   85)   (3,   10)
                  Lt. Governor (LD-AR)   2014   89           8           88           8
                                                (85,   92)   (4,   13)   (83,   92)   (4,   12)
                  Sup Ct 7 (LD-AR)       2014   90           8           89           7
                                                (86,   93)   (4,   14)   (84,   92)   (4,   11)
                  Sup Ct 5 (LD-AR)       2016   85           9           84           6
                                                (82,   88)   (5,   14)   (80,   87)   (3,   10)
                  Sup Ct 9 (AD-LR)       2016   75           10          74           7
                                                (71,   79)   (6,   15)   (70,   78)   (4,   11)
                  Governor (LD-AR)       2018   67           8           68           6
                                                (63,   70)   (4,   13)   (64,   72)   (3,   9)
                  Land Comm (LD-LR)      2018   74           9           75           6
                                                (70,   78)   (5,   15)   (71,   79)   (3,   9)
                  U.S. Sen (AD-LR)       2018   76           10          76           6
                                                (72,   80)   (6,   15)   (72,   80)   (3,   10)
                  RR Comm 1 (LD-AR)      2020   69           8           68           6
                                                (65,   72)   (4,   12)   (64,   71)   (3,   9)
                  State Rep 31 (LD-AR)   2020   82           7           -            -
                                                (79,   85)   (4,   11)   -            -
                  Sup Ct 8 (LD-AR)       2020   70           7           69           5
                                                (67,   73)   (4,   12)   (66,   72)   (2,   8)
                  Avg.                          78           8           77           6

                                     Table A8: EI CVAP: HD 31

                                                       Former                   Enacted
                  Office                 Year   Latinos      Anglos      Latinos      Anglos
                  Land Comm (AD-LR)      2014   82           7           84           9
                                                (73,   89)   (4,   13)   (76,   90)   (5,   15)
                  Lt. Governor (LD-AR)   2014   88           10          89           11
                                                (81,   93)   (5,   16)   (85,   94)   (6,   16)
                  State Rep 43 (LD-LR)   2014   67           12          -            -
                                                (58,   75)   (7,   18)   -            -
                  Sup Ct 7 (LD-AR)       2014   90           9           90           11
                                                (85,   94)   (5,   15)   (85,   94)   (7,   17)
                  State Rep 43 (LD-LR)   2016   64           7           -            -
                                                (58,   69)   (4,   11)   -            -
                  Sup Ct 5 (LD-AR)       2016   89           6           90           6
                                                (84,   93)   (3,   10)   (85,   93)   (3,   10)
                  Sup Ct 9 (AD-LR)       2016   77           6           79           7
                                                (70,   82)   (3,   11)   (73,   83)   (4,   11)
                  Governor (LD-AR)       2018   69           6           72           6
                                                (63,   75)   (3,   11)   (66,   77)   (3,   9)
                  Land Comm (LD-LR)      2018   77           7           81           6
                                                (70,   84)   (4,   12)   (75,   86)   (3,   10)
                  State Rep 43 (LD-LR)   2018   66           9           -            -
                                                (61,   72)   (5,   14)   -            -
                  U.S. Sen (AD-LR)       2018   80           8           82           8
                                                (74,   86)   (4,   13)   (77,   87)   (5,   13)
                  RR Comm 1 (LD-AR)      2020   71           8           74           8
                                                (66,   76)   (4,   12)   (70,   78)   (5,   11)
                  Sup Ct 8 (LD-AR)       2020   73           7           76           7
                                                (68,   78)   (4,   11)   (71,   80)   (4,   10)
                  Avg.                          76           8           82           8

                                     Table A9: EI CVAP: HD 43




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                      Office                 Year   Latinos      Anglos
                      Land Comm (AD-LR)      2014   59           11
                                                    (28,   85)   (5,   19)
                      Lt. Governor (LD-AR)   2014   65           13
                                                    (39,   87)   (5,   22)
                      Sup Ct 7 (LD-AR)       2014   63           11
                                                    (36,   86)   (5,   19)
                      Sup Ct 5 (LD-AR)       2016   77           8
                                                    (58,   92)   (3,   14)
                      Sup Ct 9 (AD-LR)       2016   76           7
                                                    (56,   91)   (3,   13)
                      Governor (LD-AR)       2018   72           5
                                                    (48,   89)   (2,   10)
                      Land Comm (LD-LR)      2018   75           6
                                                    (52,   91)   (2,   13)
                      U.S. Sen (AD-LR)       2018   85           7
                                                    (65,   96)   (3,   14)
                      RR Comm 1 (LD-AR)      2020   74           6
                                                    (57,   90)   (2,   12)
                      Sup Ct 8 (LD-AR)       2020   75           7
                                                    (53,   91)   (2,   13)
                      Avg.                          72           8

                Table A10: EI CVAP: Wilson and Karnes counties pooled




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State House Districts in El Paso and West Texas
                                                     Former                   Enacted
               Office                 Year   Latinos      Anglos       Latinos      Anglos
               Land Comm (AD-LR)      2014   72           27           72           32
                                             (65,   79)   (20,   34)   (64,   78)   (24,   41)
               Lt. Governor (LD-AR)   2014   80           26           79           32
                                             (73,   86)   (19,   34)   (73,   86)   (24,   40)
               Sup Ct 7 (LD-AR)       2014   82           28           81           33
                                             (76,   88)   (19,   36)   (74,   86)   (25,   41)
               Sup Ct 5 (LD-AR)       2016   79           22           81           24
                                             (75,   83)   (15,   31)   (77,   84)   (16,   34)
               Sup Ct 9 (AD-LR)       2016   69           20           71           23
                                             (65,   74)   (13,   29)   (67,   75)   (14,   32)
               Governor (LD-AR)       2018   68           24           70           27
                                             (63,   73)   (17,   31)   (65,   74)   (18,   36)
               Land Comm (LD-LR)      2018   70           26           73           29
                                             (64,   74)   (19,   34)   (68,   77)   (21,   37)
               U.S. Sen (AD-LR)       2018   76           24           78           29
                                             (71,   79)   (17,   32)   (73,   82)   (22,   37)
               RR Comm 1 (LD-AR)      2020   62           25           65           28
                                             (58,   66)   (17,   33)   (61,   68)   (20,   39)
               State Rep 74 (LD-LR)   2020   69           26           -            -
                                             (66,   73)   (19,   33)   -            -
               Sup Ct 8 (LD-AR)       2020   64           25           67           29
                                             (59,   69)   (16,   33)   (63,   71)   (21,   37)
               Avg.                          72           25           74           28

                                  Table A11: EI CVAP: HD 74

                                                     Former                   Enacted
               Office                 Year   Latinos      Anglos       Latinos      Anglos
               Land Comm (AD-LR)      2014   82           36           80           47
                                             (74,   89)   (15,   64)   (73,   87)   (22,   71)
               Lt. Governor (LD-AR)   2014   80           41           82           30
                                             (71,   88)   (17,   73)   (76,   89)   (11,   55)
               Sup Ct 7 (LD-AR)       2014   83           37           83           35
                                             (75,   91)   (18,   60)   (76,   90)   (13,   59)
               Sup Ct 5 (LD-AR)       2016   84           34           85           34
                                             (79,   89)   (13,   64)   (81,   89)   (15,   61)
               Sup Ct 9 (AD-LR)       2016   77           37           77           44
                                             (73,   82)   (16,   67)   (74,   83)   (13,   75)
               Governor (LD-AR)       2018   79           34           78           41
                                             (74,   84)   (11,   63)   (73,   83)   (14,   77)
               Land Comm (LD-LR)      2018   80           41           80           44
                                             (75,   84)   (16,   70)   (75,   84)   (20,   74)
               U.S. Sen (AD-LR)       2018   87           34           85           42
                                             (82,   91)   (14,   58)   (80,   91)   (14,   75)
               RR Comm 1 (LD-AR)      2020   74           36           72           42
                                             (69,   78)   (13,   71)   (68,   77)   (11,   74)
               Sup Ct 8 (LD-AR)       2020   76           35           75           39
                                             (71,   80)   (12,   66)   (71,   79)   (15,   61)
               Avg.                          80           36           80           40

                                  Table A12: EI CVAP: HD 75




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                                                                   Former
                       Office                    Year      Latinos      Anglos
                       Land Comm (AD-LR)         2014      93           25
                                                           (87,   97)   (11, 42)
                       Lt. Governor (LD-AR)      2014      93           28
                                                           (88,   96)   (12, 50)
                       Sup Ct 7 (LD-AR)          2014      93           30
                                                           (88,   96)   (13, 51)
                       Sup Ct 5 (LD-AR)          2016      90           23
                                                           (86,   92)   (8, 43)
                       Sup Ct 9 (AD-LR)          2016      83           27
                                                           (80,   86)   (10, 53)
                       Governor (LD-AR)          2018      86           26
                                                           (82,   89)   (8, 51)
                       Land Comm (LD-LR)         2018      88           24
                                                           (84,   92)   (10, 47)
                       U.S. Sen (AD-LR)          2018      92           28
                                                           (89,   94)   (12, 48)
                       RR Comm 1 (LD-AR)         2020      80           32
                                                           (77,   83)   (12, 56)
                       Sup Ct 8 (LD-AR)          2020      83           29
                                                           (80,   85)   (12, 52)
                       Avg.                                88           27

                                 Table A13: EI CVAP: HD 76




                                                      Former                   Enacted
              Office                 Year     Latinos      Anglos       Latinos      Anglos
              Land Comm (AD-LR)      2014     84           37           86           38
                                              (72,   93)   (20, 53)     (81,   91)   (21,   57)
              Lt. Governor (LD-AR)   2014     83           39           87           40
                                              (69,   92)   (20, 58)     (82,   92)   (24,   60)
              Sup Ct 7 (LD-AR)       2014     82           39           91           34
                                              (70,   92)   (22, 58)     (86,   95)   (18,   51)
              Sup Ct 5 (LD-AR)       2016     90           27           87           34
                                              (84,   94)   (13, 44)     (85,   90)   (15,   58)
              Sup Ct 9 (AD-LR)       2016     85           26           82           32
                                              (78,   90)   (11, 45)     (80,   84)   (13,   54)
              Governor (LD-AR)       2018     89           22           84           41
                                              (81,   95)   (9, 44)      (81,   86)   (23,   62)
              Land Comm (LD-LR)      2018     88           30           85           37
                                              (77,   94)   (13, 52)     (83,   88)   (19,   57)
              U.S. Sen (AD-LR)       2018     91           40           89           52
                                              (84,   95)   (22, 61)     (86,   91)   (34,   71)
              RR Comm 1 (LD-AR)      2020     84           30           79           44
                                              (75,   90)   (11, 56)     (77,   82)   (23,   69)
              Sup Ct 8 (LD-AR)       2020     86           32           82           42
                                              (79,   92)   (14, 49)     (80,   85)   (20,   62)
              Avg.                            86           32           85           40

                                 Table A14: EI CVAP: HD 77




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                                                    Former                 Enacted
              Office                 Year   Latinos      Anglos     Latinos      Anglos
              Land Comm (AD-LR)      2014   64           38         70           39
                                            (43,   81)   (23, 52)   (48,   86)   (27, 50)
              Lt. Governor (LD-AR)   2014   70           35         70           38
                                            (47,   87)   (16, 50)   (49,   85)   (23, 50)
              Sup Ct 7 (LD-AR)       2014   70           37         71           38
                                            (48,   89)   (21, 51)   (43,   87)   (23, 52)
              State Rep 78 (LD-AR)   2016   84           31         -            -
                                            (71,   93)   (13, 57)   -            -
              Sup Ct 5 (LD-AR)       2016   85           23         89           20
                                            (68,   93)   (9, 48)    (80,   95)   (9, 37)
              Sup Ct 9 (AD-LR)       2016   83           17         85           19
                                            (69,   92)   (6, 37)    (74,   93)   (8, 35)
              Governor (LD-AR)       2018   85           23         88           20
                                            (72,   92)   (11, 44)   (80,   94)   (8, 34)
              Land Comm (LD-LR)      2018   82           27         89           22
                                            (70,   92)   (11, 45)   (79,   94)   (9, 40)
              State Rep 78 (LD-AR)   2018   86           34         -            -
                                            (74,   93)   (14, 55)   -            -
              U.S. Sen (AD-LR)       2018   88           33         89           39
                                            (71,   95)   (15, 62)   (80,   94)   (24, 55)
              RR Comm 1 (LD-AR)      2020   80           25         83           24
                                            (66,   88)   (8, 50)    (75,   90)   (11, 36)
              State Rep 78 (LD-AR)   2020   80           34         -            -
                                            (71,   88)   (15, 51)   -            -
              Sup Ct 8 (LD-AR)       2020   79           32         83           27
                                            (68,   87)   (15, 53)   (70,   91)   (13, 47)
              Avg.                          80           30         82           29

                                 Table A15: EI CVAP: HD 78




                                                    Former                 Enacted
              Office                 Year   Latinos      Anglos     Latinos      Anglos
              Land Comm (AD-LR)      2014   70           47         76           37
                                            (43,   86)   (20, 80)   (61,   86)   (16, 64)
              Lt. Governor (LD-AR)   2014   77           23         80           31
                                            (65,   88)   (8, 48)    (65,   91)   (13, 59)
              Sup Ct 7 (LD-AR)       2014   72           47         77           38
                                            (51,   88)   (22, 74)   (65,   87)   (14, 60)
              Sup Ct 5 (LD-AR)       2016   91           15         87           19
                                            (80,   96)   (6, 28)    (79,   92)   (9, 40)
              Sup Ct 9 (AD-LR)       2016   73           42         75           30
                                            (63,   86)   (10, 85)   (67,   82)   (13, 63)
              Governor (LD-AR)       2018   79           26         81           23
                                            (71,   90)   (7, 49)    (74,   87)   (11, 40)
              Land Comm (LD-LR)      2018   84           23         86           19
                                            (74,   93)   (7, 48)    (76,   92)   (8, 42)
              U.S. Sen (AD-LR)       2018   94           15         92           19
                                            (88,   98)   (7, 29)    (87,   96)   (9, 34)
              RR Comm 1 (LD-AR)      2020   75           29         76           31
                                            (70,   81)   (13, 51)   (68,   83)   (10, 65)
              Sup Ct 8 (LD-AR)       2020   77           31         79           25
                                            (71,   84)   (12, 58)   (73,   85)   (10, 45)
              Avg.                          79           30         81           27

                                 Table A16: EI CVAP: HD 79




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                                                     Former                  Enacted
               Office                 Year   Latinos      Anglos      Latinos      Anglos
               Land Comm (AD-LR)      2014   37           5           42           6
                                             (21,   57)   (3,   8)    (25,   61)   (4,   9)
               Lt. Governor (LD-AR)   2014   36           5           40           5
                                             (19,   56)   (3,   7)    (21,   59)   (3,   8)
               Sup Ct 7 (LD-AR)       2014   42           6           42           6
                                             (24,   64)   (3,   9)    (24,   62)   (4,   10)
               Sup Ct 5 (LD-AR)       2016   78           6           80           8
                                             (65,   88)   (3,   10)   (66,   90)   (3,   13)
               Sup Ct 9 (AD-LR)       2016   73           6           77           6
                                             (57,   86)   (3,   12)   (59,   89)   (2,   13)
               Governor (LD-AR)       2018   69           7           72           8
                                             (51,   83)   (3,   12)   (54,   87)   (4,   14)
               Land Comm (LD-LR)      2018   74           6           66           10
                                             (57,   88)   (3,   12)   (47,   83)   (5,   16)
               State Rep 81 (LD-AR)   2018   67           6           -            -
                                             (50,   83)   (3,   12)   -            -
               U.S. Sen (AD-LR)       2018   74           9           74           11
                                             (55,   87)   (4,   14)   (55,   89)   (5,   17)
               RR Comm 1 (LD-AR)      2020   63           6           66           7
                                             (42,   77)   (3,   11)   (48,   81)   (3,   12)
               Sup Ct 8 (LD-AR)       2020   64           6           67           7
                                             (48,   80)   (2,   12)   (51,   81)   (3,   13)
               Avg.                          62           6           63           7

                                  Table A17: EI CVAP: HD 81




                                                     Former                  Enacted
              Office                  Year   Latinos      Anglos      Latinos      Anglos
              Land Comm (AD-LR)       2014   83           17          84           16
                                             (79,   86)   (13, 20)    (80,   86)   (13, 21)
              Lt. Governor (LD-AR)    2014   86           17          86           18
                                             (83,   89)   (14, 20)    (83,   89)   (14, 22)
              Sup Ct 7 (LD-AR)        2014   86           16          87           16
                                             (84,   89)   (13, 19)    (85,   90)   (13, 20)
              Sup Ct 5 (LD-AR)        2016   87           12          87           12
                                             (85,   89)   (9, 15)     (85,   89)   (9, 15)
              Sup Ct 9 (AD-LR)        2016   80           12          79           12
                                             (78,   82)   (9, 15)     (77,   81)   (9, 16)
              Governor (LD-AR)        2018   81           14          81           15
                                             (79,   83)   (11, 18)    (79,   84)   (11, 18)
              Land Comm (LD-LR)       2018   83           14          83           15
                                             (81,   85)   (11, 17)    (81,   85)   (12, 18)
              U.S. Sen (AD-LR)        2018   89           16          89           17
                                             (87,   90)   (13, 19)    (87,   90)   (14, 21)
              RR Comm 1 (LD-AR)       2020   77           13          77           14
                                             (76,   79)   (10, 16)    (75,   79)   (11, 17)
              Sup Ct 8 (LD-AR)        2020   79           13          79           15
                                             (78,   81)   (10, 16)    (77,   81)   (11, 18)
              Avg.                           83           14          83           15

                        Table A18: EI CVAP: West Texas HDs pooled




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State House District 118 (Bexar County)

                                                          Former                    Enacted
                 Office                  Year     Latinos      Anglos       Latinos      Anglos
                 Land Comm (AD-LR)       2014     82           13           80           15
                                                  (74,   89)   (6, 22)      (68,   89)   (9, 23)
                 Lt. Governor (LD-AR)    2014     88           17           81           23
                                                  (82,   93)   (10, 27)     (71,   89)   (13, 33)
                 Sup Ct 7 (LD-AR)        2014     88           14           84           15
                                                  (82,   94)   (7, 23)      (75,   91)   (8, 25)
                 State Rep 118 (LD-LR)   2016     81           15           -            -
                                                  (75,   86)   (8, 23)      -            -
                 Sup Ct 5 (LD-AR)        2016     88           14           88           14
                                                  (83,   92)   (7, 23)      (81,   93)   (8, 22)
                 Sup Ct 9 (AD-LR)        2016     80           13           84           13
                                                  (75,   85)   (6, 21)      (75,   91)   (7, 21)
                 Governor (LD-AR)        2018     76           16           78           16
                                                  (71,   81)   (8, 24)      (69,   86)   (8, 26)
                 Land Comm (LD-LR)       2018     81           16           82           18
                                                  (76,   86)   (7, 25)      (73,   88)   (10, 27)
                 State Rep 118 (LD-LR)   2018     84           17           -            -
                                                  (78,   89)   (8, 28)      -            -
                 U.S. Sen (AD-LR)        2018     85           19           87           20
                                                  (80,   90)   (10, 29)     (78,   93)   (12, 31)
                 RR Comm 1 (LD-AR)       2020     79           19           78           18
                                                  (74,   83)   (10, 29)     (70,   84)   (8, 28)
                 State Rep 118 (LD-AR)   2020     82           19           -            -
                                                  (78,   86)   (10, 29)     -            -
                 Sup Ct 8 (LD-AR)        2020     80           19           79           17
                                                  (75,   84)   (10, 28)     (71,   85)   (9, 27)
                 Avg.                             83           16           82           17

                                    Table A19: EI CVAP: HD 118

                           Office                   Year       Latinos      Anglos
                           Land Comm (AD-LR)        2014       89           18
                                                               (87,   91)   (15,   20)
                           Lt. Governor (LD-AR)     2014       90           30
                                                               (88,   92)   (28,   33)
                           Sup Ct 7 (LD-AR)         2014       90           25
                                                               (88,   92)   (22,   27)
                           Sup Ct 5 (LD-AR)         2016       92           20
                                                               (91,   93)   (17,   23)
                           Sup Ct 9 (AD-LR)         2016       88           17
                                                               (86,   90)   (15,   20)
                           Governor (LD-AR)         2018       87           28
                                                               (85,   89)   (25,   31)
                           Land Comm (LD-LR)        2018       90           28
                                                               (88,   92)   (26,   31)
                           U.S. Sen (AD-LR)         2018       90           38
                                                               (88,   92)   (35,   40)
                           RR Comm 1 (LD-AR)        2020       88           29
                                                               (85,   89)   (27,   31)
                           Sup Ct 8 (LD-AR)         2020       89           26
                                                               (88,   91)   (24,   30)
                           Avg.                                89           26

                                  Table A20: EI CVAP: Bexar County




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B   Appendix: Elections Analyzed for Opportunity Analysis

                    Year   Office           Name            Party   Ethnicity
                    2014   Lt. Governor     Van De Putte    D       Hispanic
                    2014   Sup Ct 7         Benavides       D       Hispanic
                    2014   RR Comm 3        Brown           D       Black
                    2016   Sup Ct 5         Garza           D       Hispanic
                    2018   CCA 7            Franklin        D       Black
                    2018   CCA Pres Judge   Jackson         D       Black
                    2018   Comptroller      Chevalier       D       Black
                    2018   Governor         Valdez          D       Hispanic
                    2018   Land Comm        Suazo           D       Hispanic
                    2020   CCA 3            Davis Frizell   D       Black
                    2020   RR Comm 1        Castaneda       D       Hispanic
                    2020   Sup Ct 7         Williams        D       Black
                    2020   Sup Ct 8         Triana          D       Hispanic

           Table B1: Minority-preferred Candidate in Statewide Elections Analyzed




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C   Appendix: Additional Figures for Opportunity Analysis




                              Figure C1: HD 43




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                              Figure C2: HD 74




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                              Figure C3: HD 75




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                              Figure C4: HD 76




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                              Figure C5: HD 77




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                              Figure C6: HD 78




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                              Figure C7: HD 79




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                              Figure C8: HD 81




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D    Appendix: Opportunity Analysis Using All Elections from Racially
     Polarized Voting Analysis

                                                             Former Districts                                Enacted Districts
                                    Endogenous Elections      Exogenous Elections      All Elections         Exogenous Elections
                       District     Margin       Win %        Margin      Win %       Margin Win %           Margin      Win %
West Texas:
                          23             -1.96           0         -5.06         20       -4.17         14    -11.97          0
Dallas-Fort Worth Metroplex:
                           6         -13.49              0        -12.64          0   -12.73             0    -31.48          0
                          24          -1.33              0        -12.08          6   -11.48             6    -30.22          0
Harris County:
                          38                                                                                  -35.59          0


Table D1: CD Opportunity District Analysis Using All Elections from Racially Polarized Voting Analysis


                                                       Former Districts                                 Enacted Districts
                             Endogenous Elections       Exogenous Elections       All Elections         Exogenous Elections
                  District   Margin       Win %         Margin      Win %        Margin Win %           Margin      Win %
South Texas:
                     31        16.83             100       6.63             70     7.55           79      -8.94         20
                     43       -22.43               0     -13.33              0   -15.43            0     -16.92          0
El Paso and West Texas:
                     74           8.79           100       6.95             90     7.12            93    15.27         100
                     75                          100      41.29            100    41.29           100    43.36         100
                     76                          100      52.57            100    52.57           100
                     77                          100      33.22            100    33.22           100     52.82        100
                     78       26.84              100      13.50             70    16.58            79     13.76         70
                     79                          100      32.11            100    32.11           100     31.22        100
                     81       -49.98               0     -51.80              0   -51.63             0    -49.81          0
Bexar County:
                    118       14.42              100      11.18            100    11.93           100     -4.65         30

Table D2: HD Opportunity District Analysis Using All Elections from Racially Polarized Voting Analysis


E    Maps




                                                             48
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                                                                             Figure E1: CD 23: Average Percent Minority-Preferred Vote




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                                                                             Figure E2: CD 23: Proportion Latino CVAP




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     Figure E3: Dallas-Fort Worth Former CDs: Combined Proportion Black and Latino CVAP
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     Figure E4: Dallas-Fort Worth Enacted CDs: Combined Proportion Black and Latino CVAP
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                                                                             Figure E5: CD 24:Average Percent Minority-Preferred Vote




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                                                                             Figure E6: CD 24: Percent Latino




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                                                                             Figure E7: CD 6: Average Percent Minority-Preferred Vote




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                                                                             Figure E8: CD 6: Percent Latino




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               Figure E9: HD 31: Average Percent Minority-Preferred Vote




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                        Figure E10: HD 31: Percent Latino




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                                                                             Figure E11: HD 118: Average Percent Minority-Preferred Vote




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                                                                             Figure E12: HD 118: Percent Latino




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F    Appendix: CDs and HDs by Percent Latino CVAP
Tables in this section are for the proportion Latino CVAP in CDs and HDs. CVAP is based on the data
provided by the United States. Each table has a line separating districts with 40% Latino CVAP or higher
from those with less than 40% Latino CVAP.

                District   Former Win %   Enacted Win %   Former Latino %   Enacted Latino %
                     34          100.00             100             79.49              86.45
                     16          100.00             100             77.01              78.79
                     15          100.00             100             73.55              74.41
                     28          100.00             100             69.44              68.90
                     20          100.00             100             64.12              67.34
                     29          100.00             100             64.65              62.30
                     23           14.29               0             62.16              56.74
                     27            0.00               0             45.89              47.95
                     35          100.00             100             51.78              45.99
                     33          100.00             100             48.91              42.24
                     19            0.00               0             30.91              32.06
                     11            0.00               0             30.53              32.03
                     18          100.00             100             28.42              28.71
                      9          100.00             100             27.14              25.92
                     21            0.00               0             24.43              25.89
                     22            0.00               0             21.45              23.21
                      8            0.00               0             16.52              22.57
                     36            0.00               0             19.76              22.25
                     30          100.00             100             24.79              22.24
                      6            0.00               0             18.42              21.97
                      2            0.00               0             24.09              21.85
                     32           28.57             100             16.31              21.08
                     37               -             100                 -              20.84
                      7           14.29             100             22.50              20.74
                     13            0.00               0             19.89              20.21
                     38               -               0                 -              18.85
                      5            0.00               0             17.81              18.51
                     31            0.00               0             19.98              18.15
                     14            0.00               0             18.87              17.98
                     17            0.00               0             19.83              17.96
                     12            0.00               0             16.89              17.64
                     10            0.00               0             21.05              17.62
                     25            0.00               0             15.50              15.39
                     26            0.00               0             14.54              13.56
                     24            0.00               0             16.23              12.49
                      3            0.00               0             11.03              11.23
                      4            0.00               0              9.17               9.60
                      1            0.00               0             10.58               9.40

                                 Table F1: CDs by Percent Latino CVAPs


                District   Former Win %   Enacted Win %   Former Latino %   Enacted Latino %
                     42             100             100                94                 94
                     38             100             100                87                 92
                     35             100             100                85                 92
                     40             100             100                91                 90
                     36             100             100                90                 90
                     39             100             100                89                 89
                     75             100             100                88                 88
                     77             100             100                74                 86
                     41             100             100                82                 82
                     79             100             100                79                 78
                     37             100              71                87                 78
                     80             100             100                85                 77
                     74              86             100                74                 74
                     34              86             100                68                 70
                    140             100             100                68                 69


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              78         71         71          67           68
             124        100        100          67           67
             117         86        100          56           66
             119        100        100          61           65
              31         57         29          76           65
             144         71         71          67           65
             143        100        100          64           63
             125        100        100          68           63
             116        100        100          60           60
             123        100        100          62           60
              43          0          0          62           59
             118        100         29          68           58
             104        100        100          60           56
              81          0          0          52           53
             145        100        100          60           52
              90        100        100          60           50
             120        100        100          44           44
              51        100        100          43           43
             107         71        100          28           42
              32          0          0          48           40
             148        100         71          42           40
              88          0          0          39           38
              45         43         71          32           38
             131        100        100          34           37
             135         43         71          29           37
              82          0          0          37           37
             103        100        100          38           36
              84          0          0          34           35
             110        100        100          39           35
             105         71         71          34           35
             122          0          0          33           34
             142        100        100          34           33
              30          0          0          36           33
              44          0          0          33           33
             149        100        100          30           33
             121          0          0          36           33
              72          0          0          34           33
             137        100        100          31           31
             128          0          0          30           30
             100        100        100          26           30
              53          0          0          26           30
             141        100        100          30           29
              50        100        100          24           29
              83          0          0          30           29
              87          0          0          28           29
              17          0          0          34           29
              46        100        100          30           28
             139        100        100          32           28
             138          0          0          33           27
              29          0          0          24           26
             147        100        100          25           25
             113         57         71          24           25
              25          0          0          28           24
              86          0          0          24           24
             132          0          0          31           23
              28          0          0          18           23
             111        100        100          24           23
             101        100        100          26           23
             129          0          0          23           23
             127          0          0          22           22
              48        100        100          21           22
             150          0          0          22           22
              92          0         71          15           22
              52         43          0          25           21
              95        100        100          21           21
              99          0          0          21           21
             136         57         71          17           21



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              54          0          0          21           21
              14          0          0          21           21
              55          0          0          20           21
              23          0          0          20           21
              71          0          0          21           20
             126          0          0          25           20
              85          0          0          31           20
              10          0          0          19           20
              73          0          0          20           20
             114         29        100          13           19
              91          0          0          19           19
               3          0          0          19           19
              76        100         71          87           19
              93          0          0          20           19
              26          0          0          16           19
              49        100        100          17           19
              58          0          0          18           18
             130          0          0          19           18
             102         57        100          15           18
              27        100        100          17           18
             146        100        100          19           18
             109        100        100          18           17
              56          0          0          18           17
              20          0          0          16           17
              24          0          0          16           16
             115         57         57          20           16
              22        100        100          13           16
              13          0          0          14           16
              63          0          0          12           16
              12          0          0          18           16
              57          0          0          12           16
              96          0          0          17           15
              16          0          0          17           15
             133          0          0          15           15
              97          0          0          16           15
              94          0          0          16           15
              69          0          0          14           15
              15          0          0          15           15
              64          0          0          16           15
               4          0          0          13           14
              18          0          0          17           14
              47         29         86          14           14
             112         29          0          21           14
              59          0          0          16           13
              65         29          0          16           13
              68          0          0          16           13
              19          0          0           6           13
             134         71         86          13           13
              89          0          0          12           13
               8          0          0          15           13
              33          0          0          13           13
              67         14          0          11           13
               6          0          0          13           12
             106          0          0          14           12
              70          0         29          12           11
               9          0          0           6           10
               5          0          0          11           10
               2          0          0          10           10
              66          0          0           9           10
              61          0          0           9           10
              60          0          0          12           10
              98          0          0          10           10
               7          0          0           9            9
              11          0          0          11            9
              62          0          0           8            8
             108         14          0          12            7
              21          0          0          11            7
               1          0          0           5            4



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G      Appendix: EI Results for Illustrative Districts
The tables below are for EI estimates for Anlgo, Latino, and Black voters. Estimates were also produced for a category of
”other”, but those are not shown. Cell entries are for the Democratic vote share, with 95% confidence intervals in parentheses.
The party and race for the two major-party candidates are listed next to the office (D = Democrat, R = Republican, A =
Anglo, L = Latino, B = Black).

Congressional District 23 (West Texas)




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                     Office                 Year   Latinos      Anglos
                     Land Comm (AD-LR)      2014   84           13
                                                   (80,   86)   (11,   16)
                     Lt. Governor (LD-AR)   2014   87           17
                                                   (84,   90)   (14,   20)
                     Sup Ct 7 (LD-AR)       2014   89           16
                                                   (86,   91)   (12,   19)
                     Sup Ct 5 (LD-AR)       2016   87           14
                                                   (85,   89)   (11,   18)
                     Sup Ct 9 (AD-LR)       2016   79           13
                                                   (77,   82)   (10,   15)
                     Governor (LD-AR)       2018   78           15
                                                   (75,   81)   (11,   18)
                     Land Comm (LD-LR)      2018   82           14
                                                   (79,   84)   (12,   17)
                     U.S. Sen (AD-LR)       2018   85           19
                                                   (82,   87)   (16,   23)
                     RR Comm 1 (LD-AR)      2020   75           18
                                                   (73,   78)   (14,   22)
                     Sup Ct 8 (LD-AR)       2020   77           17
                                                   (75,   79)   (13,   20)
                     Avg.                          82           16

                              Table G1: EI CVAP – CD 23




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Congressional District 38 (Harris County)

                       Office                  Year   Latinos        Anglos
                       Land Comm (AD-LR)       2014   0.78           0.09
                                                      (0.7, 0.85)    (0.05,   0.13)
                       Lt. Governor (LD-AR)    2014   0.8            0.11
                                                      (0.73, 0.86)   (0.07,   0.16)
                       Sup Ct 7 (LD-AR)        2014   0.83           0.09
                                                      (0.76, 0.89)   (0.05,   0.14)
                       Sup Ct 5 (LD-AR)        2016   0.91           0.07
                                                      (0.88, 0.94)   (0.04,   0.1)
                       Sup Ct 9 (AD-LR)        2016   0.84           0.07
                                                      (0.79, 0.88)   (0.03,   0.11)
                       Governor (LD-AR)        2018   0.85           0.09
                                                      (0.8, 0.89)    (0.05,   0.14)
                       Land Comm (LD-LR)       2018   0.88           0.1
                                                      (0.83, 0.92)   (0.06,   0.14)
                       U.S. Sen (AD-LR)        2018   0.9            0.11
                                                      (0.86, 0.93)   (0.07,   0.17)
                       RR Comm 1 (LD-AR)       2020   0.83           0.1
                                                      (0.77, 0.87)   (0.06,   0.15)
                       Sup Ct 8 (LD-AR)        2020   0.82           0.09
                                                      (0.77, 0.86)   (0.06,   0.15)
                       Avg.                           0.84           0.09

                                Table G2: EI CVAP – Illustrative CD 38




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State House Districts 31 (South Texas)

                          Office                 Year   Latinos      Anglos
                          Land Comm (AD-LR)      2014   85           10
                                                        (81,   88)   (6,   14)
                          Lt. Governor (LD-AR)   2014   91           10
                                                        (88,   94)   (5,   14)
                          Sup Ct 7 (LD-AR)       2014   92           10
                                                        (89,   94)   (5,   16)
                          Sup Ct 5 (LD-AR)       2016   88           9
                                                        (85,   91)   (5,   15)
                          Sup Ct 9 (AD-LR)       2016   78           9
                                                        (74,   81)   (5,   15)
                          Governor (LD-AR)       2018   71           7
                                                        (68,   74)   (4,   11)
                          Land Comm (LD-LR)      2018   78           8
                                                        (75,   81)   (5,   13)
                          U.S. Sen (AD-LR)       2018   80           9
                                                        (77,   83)   (5,   14)
                          RR Comm 1 (LD-AR)      2020   68           10
                                                        (66,   71)   (5,   16)
                          Sup Ct 8 (LD-AR)       2020   70           10
                                                        (67,   73)   (6,   15)
                          Avg.                          80           9

                            Table G3: EI CVAP – Illustrative HD 31




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State House Districts in El Paso and West Texas
                     Office                 Year   Latinos      Anglos
                     Land Comm (AD-LR)      2014   72           21
                                                   (63,   78)   (15,   28)
                     Lt. Governor (LD-AR)   2014   80           21
                                                   (72,   87)   (15,   28)
                     Sup Ct 7 (LD-AR)       2014   82           23
                                                   (75,   87)   (16,   30)
                     Sup Ct 5 (LD-AR)       2016   78           20
                                                   (73,   82)   (13,   27)
                     Sup Ct 9 (AD-LR)       2016   68           20
                                                   (63,   72)   (14,   29)
                     Governor (LD-AR)       2018   66           21
                                                   (62,   71)   (16,   28)
                     Land Comm (LD-LR)      2018   68           22
                                                   (63,   73)   (16,   29)
                     U.S. Sen (AD-LR)       2018   73           23
                                                   (67,   77)   (17,   31)
                     RR Comm 1 (LD-AR)      2020   61           21
                                                   (57,   65)   (15,   28)
                     Sup Ct 8 (LD-AR)       2020   63           22
                                                   (58,   68)   (16,   29)
                     Avg.                          71           22

                       Table G4: EI CVAP – Illustrative HD 74

                     Office                 Year   Latinos      Anglos
                     Land Comm (AD-LR)      2014   81           41
                                                   (72,   89)   (18,   67)
                     Lt. Governor (LD-AR)   2014   80           43
                                                   (72,   87)   (20,   68)
                     Sup Ct 7 (LD-AR)       2014   81           45
                                                   (74,   87)   (21,   70)
                     Sup Ct 5 (LD-AR)       2016   83           38
                                                   (79,   89)   (14,   74)
                     Sup Ct 9 (AD-LR)       2016   77           42
                                                   (72,   83)   (14,   79)
                     Governor (LD-AR)       2018   79           40
                                                   (74,   84)   (16,   69)
                     Land Comm (LD-LR)      2018   80           45
                                                   (75,   85)   (20,   74)
                     U.S. Sen (AD-LR)       2018   86           41
                                                   (81,   91)   (19,   67)
                     RR Comm 1 (LD-AR)      2020   72           41
                                                   (67,   77)   (16,   76)
                     Sup Ct 8 (LD-AR)       2020   75           39
                                                   (70,   80)   (15,   67)
                     Avg.                          79           41

                       Table G5: EI CVAP – Illustrative HD 75




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                     Office                 Year   Latinos      Anglos
                     Land Comm (AD-LR)      2014   87           39
                                                   (82,   92)   (21,   56)
                     Lt. Governor (LD-AR)   2014   89           40
                                                   (83,   93)   (21,   59)
                     Sup Ct 7 (LD-AR)       2014   93           34
                                                   (89,   96)   (17,   52)
                     Sup Ct 5 (LD-AR)       2016   88           34
                                                   (85,   91)   (14,   53)
                     Sup Ct 9 (AD-LR)       2016   82           38
                                                   (79,   84)   (18,   58)
                     Governor (LD-AR)       2018   83           47
                                                   (79,   86)   (28,   70)
                     Land Comm (LD-LR)      2018   85           41
                                                   (82,   88)   (22,   62)
                     U.S. Sen (AD-LR)       2018   89           55
                                                   (85,   92)   (32,   77)
                     RR Comm 1 (LD-AR)      2020   79           51
                                                   (76,   82)   (28,   72)
                     Sup Ct 8 (LD-AR)       2020   82           50
                                                   (79,   84)   (29,   71)
                     Avg.                          86           43

                       Table G6: EI CVAP – Illustrative HD 77




                     Office                 Year   Latinos      Anglos
                     Land Comm (AD-LR)      2014   70           38
                                                   (49,   86)   (25, 48)
                     Lt. Governor (LD-AR)   2014   71           39
                                                   (52,   87)   (23, 48)
                     Sup Ct 7 (LD-AR)       2014   68           40
                                                   (44,   85)   (26, 49)
                     Sup Ct 5 (LD-AR)       2016   86           24
                                                   (71,   93)   (8, 48)
                     Sup Ct 9 (AD-LR)       2016   86           20
                                                   (75,   94)   (8, 34)
                     Governor (LD-AR)       2018   89           22
                                                   (76,   95)   (9, 39)
                     Land Comm (LD-LR)      2018   86           27
                                                   (73,   95)   (13, 48)
                     U.S. Sen (AD-LR)       2018   90           37
                                                   (81,   95)   (20, 50)
                     RR Comm 1 (LD-AR)      2020   82           26
                                                   (74,   89)   (12, 41)
                     Sup Ct 8 (LD-AR)       2020   84           27
                                                   (74,   91)   (12, 43)
                     Avg.                          81           30

                       Table G7: EI CVAP – Illustrative HD 78




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                     Office                 Year   Latinos      Anglos
                     Land Comm (AD-LR)      2014   67           41
                                                   (56,   78)   (20, 65)
                     Lt. Governor (LD-AR)   2014   70           38
                                                   (57,   82)   (18, 67)
                     Sup Ct 7 (LD-AR)       2014   70           40
                                                   (59,   85)   (20, 65)
                     Sup Ct 5 (LD-AR)       2016   86           20
                                                   (76,   94)   (7, 38)
                     Sup Ct 9 (AD-LR)       2016   72           31
                                                   (65,   81)   (12, 65)
                     Governor (LD-AR)       2018   76           26
                                                   (70,   85)   (11, 47)
                     Land Comm (LD-LR)      2018   78           31
                                                   (67,   88)   (13, 67)
                     U.S. Sen (AD-LR)       2018   92           17
                                                   (87,   96)   (8, 28)
                     RR Comm 1 (LD-AR)      2020   73           32
                                                   (65,   80)   (12, 67)
                     Sup Ct 8 (LD-AR)       2020   76           31
                                                   (69,   83)   (12, 60)
                     Avg.                          76           31

                       Table G8: EI CVAP – Illustrative HD 79




                     Office                 Year   Latinos      Anglos
                     Land Comm (AD-LR)      2014   80           8
                                                   (71,   87)   (4,   13)
                     Lt. Governor (LD-AR)   2014   81           8
                                                   (73,   87)   (5,   13)
                     Sup Ct 7 (LD-AR)       2014   84           9
                                                   (77,   90)   (5,   14)
                     Sup Ct 5 (LD-AR)       2016   84           7
                                                   (80,   88)   (4,   11)
                     Sup Ct 9 (AD-LR)       2016   76           6
                                                   (71,   80)   (3,   10)
                     Governor (LD-AR)       2018   79           7
                                                   (74,   84)   (3,   11)
                     Land Comm (LD-LR)      2018   81           8
                                                   (76,   85)   (4,   13)
                     U.S. Sen (AD-LR)       2018   86           7
                                                   (82,   90)   (4,   11)
                     RR Comm 1 (LD-AR)      2020   74           6
                                                   (70,   77)   (3,   10)
                     Sup Ct 8 (LD-AR)       2020   76           6
                                                   (72,   79)   (3,   10)
                     Avg.                          80           7

                       Table G9: EI CVAP – Illustrative HD 81




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State House District 118 (Bexar County)

                         Office                 Year   Latinos      Anglos
                         Land Comm (AD-LR)      2014   84           13
                                                       (76,   91)   (6, 21)
                         Lt. Governor (LD-AR)   2014   87           18
                                                       (81,   92)   (9, 27)
                         Sup Ct 7 (LD-AR)       2014   89           16
                                                       (83,   94)   (8, 24)
                         Sup Ct 5 (LD-AR)       2016   90           14
                                                       (84,   94)   (7, 21)
                         Sup Ct 9 (AD-LR)       2016   82           14
                                                       (76,   87)   (7, 21)
                         Governor (LD-AR)       2018   77           16
                                                       (71,   83)   (9, 25)
                         Land Comm (LD-LR)      2018   81           18
                                                       (75,   87)   (10, 27)
                         U.S. Sen (AD-LR)       2018   85           23
                                                       (79,   90)   (14, 33)
                         RR Comm 1 (LD-AR)      2020   79           21
                                                       (73,   83)   (13, 32)
                         Sup Ct 8 (LD-AR)       2020   80           20
                                                       (74,   84)   (12, 28)
                         Avg.                          83           17

                          Table G10: EI CVAP – Illustrative HD 118




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H   Appendix: Additional Figures for Opportunity Analysis for
    Illustrative Districts




                          Figure H1: Illustrative CD 23




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                          Figure H2: Illustrative CD 38




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                          Figure H3: Illustrative HD 31




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                    Figure H4: Illustrative State House District 74




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                    Figure H5: Illustrative State House District 75




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                          Figure H6: Illustrative HD 77




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                          Figure H7: Illustrative HD 78




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                         Figure H8: Illustrative in HD 79




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                          Figure H9: Illustrative HD 81




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                         Figure H10: Illustrative HD 118




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                          Ryan D. Enos   20 May 2022
